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                           IN THE UNITED STATES DISTRICT COURT FOR
                               THE EASTERN DISTRICT OF VIRGINIA,
                                         Norfolk Division


   UNITED STATES OF AMERICA,                         )
                                                     )
             v.                                      )
                                                     )
   CHESAPEAKE REGIONAL MEDICAL                       )
   CENTER,                                           )
                                                     )      NO. 2:25-CR-00001-EWH-RJK
   a/k/a CHESAPEAKE GENERAL                          )
   HOSPITAL,                                         )
                                                     )
   a/k/a CHESAPEAKE REGIONAL                         )
   HEALTHCARE                                        )
                                                     )
                      Defendant.


     CHESAPEAKE REGIONAL MEDICAL CENTER’S BRIEF IN SUPPORT OF ITS
          MOTION TO DISMISS THE INDICTMENT WITH PREJUDICE

         Pursuant to Fed. R. Crim. P. 12(b) and Local Rule 47(F), defendant the Chesapeake

  Hospital Authority (“CHA”), which does business as the Chesapeake Regional Medical Center,

  submits this brief in support of its motion to dismiss the indictment with prejudice. The indictment

  should be dismissed for three reasons:

         1. as an entity created by the Commonwealth, CHA is not a “person” within the meaning
            of the two statutes prompting the charges;

         2. CHA’s status as an arm of the Commonwealth cloaks it with the same immunity from
            federal criminal prosecution in this Court as the Commonwealth enjoys itself;

         3. as a matter of law, an entity such as CHA cannot form a specific intent to defraud, a
            necessary element of the charged offenses.

         CHA emphasizes that it does not assert these defenses to avoid responding to the

  indictment’s factual allegations or to circumvent responsibility for alleged criminal conduct.
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  Indeed, CHA categorically rejects as false the charges that it engaged in conspiracy and fraud. It

  asserts these threshold defenses, however, to safeguard and preserve important legal rights

  conferred upon it as an arm of the Commonwealth of Virginia.

  I.     Factual Background1

         During the mid-1960s, citizens and physicians in the Chesapeake area of Virginia began a

  grassroots effort to establish a hospital to serve the people who lived in that region. As a result of

  those efforts, the 1966 Virginia General Assembly created the Chesapeake Hospital Authority, “a

  public body politic and corporate” to “exercise[e] public and essential governmental functions to

  provide for the public health, welfare, convenience and prosperity of the residents of the City of

  Chesapeake and such other persons who might be served by the Authority … and to provide

  improved medical care and related services to such residents and persons[.]” Virginia’s 1966 Acts

  of Assembly, chapter 271, attached as Exhibit A. Construction of the hospital began in 1973, and

  it began providing medical services to the community in 1976. Originally called “Chesapeake

  General Hospital,” the hospital was renamed “Chesapeake Regional Medical Center” (“CRMC”)

  in 2007 to reflect the broad span of the organization’s services and patient base.

         As the indictment in this case alleges, to perform a procedure at CRMC, a physician must

  have privileges at the hospital. See Doc. 1 at 5. In 1983, Dr. Javaid Perwaiz, an obstetrician and

  gynecologist, applied for and was granted such privileges. See Doc. 1 at 6.



         1
            These background facts likely are not in dispute. But, even if they are, Fed. R. Crim. P.
  12(d) and (f) establish that a court may make some factual findings in deciding a motion to dismiss.
  See Fed. R. Crim. P. 12(d) (“When factual issues are involved in deciding a motion, the court must
  state its essential findings on the record.”); Fed. R. Crim. P. 12(f) (“All proceedings at a motion
  hearing, including any findings of fact and conclusions of law made orally by the court, must be
  recorded by a court reporter or a suitable recording device. ”); see also Kentucky v. Long, 837 F.2d
  727, 750 (6th Cir. 1988) (noting that “courts may make preliminary factual findings necessary to
  decide the questions of law presented by a pre-trial motion”).


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         Thirty-six years later, in November 2019, Perwaiz was charged in the Eastern District of

  Virginia with various crimes relating to health care fraud and identity theft. See Doc. 1 at 6; see

  also Docs. 3, 21, and 50, United States v. Perwaiz, case no. 2:19-cr-189, in the United States

  District Court for the Eastern District of Virginia. The indictment in that case alleged that, in

  furtherance of a scheme to defraud private and public insurers, Perwaiz had falsified the due dates

  of patients so that he would be the health care provider who would deliver their babies; induced

  labor before 39 weeks gestation despite a lack of medical necessity; peppered patient records with

  false symptoms, false statements, and false diagnoses; falsely claimed that he had performed in-

  office procedures and examinations that in truth he had not performed; and falsified sterilization

  consent forms, among other things. See Doc. 50 in case no. 2:19-cr-189. At his 2020 federal

  criminal trial, the government told the jury that Perwaiz had hidden all these actions from those

  who could have intervened, asserting that, “to cover his tracks,” Perwaiz had “manipulated his

  own medical records” and “filled them with untruths, even about things as straightforward as the

  date”; “ma[d]e up other symptoms that the patients weren’t having, and … papered his own

  medical records with the same untruths”; and “hid[den] what he was doing from others” while

  being “very careful to control what he documented about his patients.” See Doc. 210 at 106–07,

  115, 125 in case no. 2:19-cr-189 (government’s opening statement).

         In November 2020, a jury convicted Perwaiz of 23 counts of healthcare fraud and 29 counts

  of making false statements. Doc. 1 at 6; see Doc. 171 in case no. 2:19-cr-189. The district court

  sentenced Perwaiz to serve 59 years in prison and ordered him to pay restitution of more than

  $18.5 million to Medicaid, Medicare, TRICARE, Optima, and Anthem. See Doc. 203 in case no.

  2:19-cr-189.




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         Despite the government’s theme at Perwaiz’s trial that Perwaiz had actively and effectively

  hidden his criminal conduct by falsifying patient medical records and other documents, the

  government has now sought and obtained a criminal indictment charging CHA—a victim of

  Perwaiz in its own right—with knowing about and participating in Perwaiz’s health care fraud

  scheme. See Doc. 1. Although CHA has never disputed, and indeed readily acknowledges, the

  reprehensible nature of Dr. Perwaiz’s conduct, the facts and evidence will not bear out the

  indictment’s contention that CHA knowingly took part in Perwaiz’s inexcusable actions. Indeed,

  Dr. Perwaiz’s admission at his trial that he had back-dated documents was in line with the

  overarching scheme advanced by the government that Perwaiz had been altering or keeping

  inaccurate records to leave everyone, including CHA, in the dark. See Doc. 220 at 183, case no.

  2:19-cr-189.

         But, before any factfinder is called upon to address the factual contentions, state and federal

  law require this Court to address three preliminary legal questions that, if resolved in CHA’s favor,

  require dismissal of the indictment. As explained below, even setting aside the falsity of the

  indictment’s allegations, the indictment should be dismissed with prejudice because (1) CHA

  constitutes an arm of the Commonwealth of Virginia to which neither section 371 nor section 1347

  applies; (2) as a Commonwealth entity, CHA is wholly immune from prosecution by the federal

  government; and (3) if CHA is a “municipal corporation” as the indictment alleges, it could never

  form a specific intent to defraud, which is a necessary element of the charged offenses. Dismissal

  of the indictment with prejudice is appropriate because the United States cannot amend the

  indictment to state an offense against it. See Midland Asphalt Corp. v. United States, 489 U.S. 794,

  801 (1989) (dismissal of indictment is appropriate when defendant is immune from prosecution).




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  II.    Legal Standard for Dismissal

         In any criminal case involving a claim of immunity from prosecution, the propriety of the

  immunity defense must be decided “early in the proceedings” so as “to avoid requiring [the

  defendant] to run the gauntlet of standing trial and having to wait until later to have the [immunity]

  issue decided.” Kentucky v. Long, 837 F.2d 727, 752 (6th Cir. 1988). The goal of an immunity

  defense “is not only to avoid the possibility of conviction … but also to avoid the necessity of

  undergoing the entire process of the … criminal procedure.” Id. And when an indictment is based

  on statutes for which a defendant could never be criminally liable, these same considerations apply.

         Therefore, immunity from prosecution for the conduct alleged in the indictment, in addition

  to the charged statutes’ inapplicability to the defendant, are grounds that fall within Fed. R. Crim.

  P. 12(b)(2), which permits a defendant to move to dismiss based on a lack of jurisdiction; under

  Rule 12(b)(3)(A), which permits a defendant to seek dismissal of the indictment based on a defect

  in the institution of the prosecution; and under Rule 12(b)(3)(B)(v), which permits a defendant to

  move to dismiss based on the failure to state an offense. See Midland Asphalt, 489 U.S. at 801; cf.

  United States v. Vinson, 805 F.3d 120, 122 (4th Cir. 2015) (addressing motion to dismiss based on

  contention that defendant charged under 18 U.S.C. § 922(g) did not constitute a person prohibited

  from possessing a firearm).

         When considering a motion to dismiss, this Court must review the indictment as a whole

  and accept the allegations as true. See United States v. Brewbaker, 87 F.4th 563, 579 (4th Cir.

  2023), cert. denied, No. 24-124, 2024 U.S. LEXIS 4585 (2024). Doing so here establishes that

  the indictment should be dismissed because CHA is not a “person” within the terms of section 371

  or section 1347, is wholly immune from criminal prosecution, and could not form the criminal

  intent required for a violation of section 371 or section 1347.



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     III.       The Indictment Should Be Dismissed Because CHA Is not a “Person” Subject to
                18 U.S.C. §§ 371 and 1347.2

            The indictment in this case charges CHA with conspiring with Dr. Perwaiz to defraud the

  United States and to interfere with lawful government functions in violation of 18 U.S.C. § 371

  and with health care fraud, in violation of 18 U.S.C. §§ 1347 and 2. Section 371 provides in

  pertinent part:

            If two or more persons conspire … to … defraud the United States, … and one or
            more of such persons do any act to effect the object of the conspiracy, each shall
            be fined under this title or imprisoned not more than five years, or both.

  (Emphasis added.) Section 1347 provides in total:

            (a)   Whoever knowingly and willfully executes, or attempts to execute, a
            scheme or artifice—
                    (1)     to defraud any health care benefit program; or
                    (2)     to obtain, by means of false or fraudulent pretenses, representations,
                    or promises, any of the money or property owned by, or under the custody
                    or control of, any health care benefit program,
                    in connection with the delivery of or payment for health care benefits, items,
                    or services, shall be fined under this title or imprisoned not more than 10
                    years, or both. If the violation results in serious bodily injury (as defined in
                    section 1365 of this title), such person shall be fined under this title or
                    imprisoned not more than 20 years, or both; and if the violation results in
                    death, such person shall be fined under this title, or imprisoned for any term
                    of years or for life, or both.
            (b)   With respect to violations of this section, a person need not have actual
            knowledge of this section or specific intent to commit a violation of this section.



            2
            As we explain below, the indictment should also be dismissed because, among other
  reasons, CHA, as an arm of the Commonwealth of Virginia, is wholly immune from prosecution.
  But the Supreme Court explained in Vt. Agency of Nat. Res. v. United States ex rel. Stevens, 529
  U.S. 765, 779 (2000), that, when both immunity and the reach of a statute are at issue, the statutory
  question is “logically antecedent to the existence of” the immunity issue and “there is no realistic
  possibility that addressing the statutory question will expand the Court’s power beyond the limits
  that the jurisdictional restriction has imposed.” “This combination of logical priority and virtual
  coincidence of scope makes it possible, and indeed appropriate, to decide the statutory issue first.”
  Id. at 779–80.


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  By their express terms, both statutes apply to the conduct of a “person” (or, in the case of section

  371, two “persons.”).

          In determining whether any conduct of CHA could ever fall within the reach of these

  statutes, therefore, this Court must determine whether CHA constitutes a “person.” See Stevens,

  529 U.S. at 780 (2000) (examining whether a state agency constitutes a “person” for purposes of

  the civil False Claims Act). To do so, this Court must apply to the statutory text the Supreme

  Court’s “longstanding interpretive presumption that ‘person’ does not include the sovereign.” Id.

  (citations omitted). “The presumption is ‘particularly applicable where it is claimed that Congress

  has subjected the States to liability to which they had not been subject before.’” Id. at 780–81

  (citations omitted).

          Long before the enactment of the criminal statutes at issue here, indeed since the founding

  of the United States, states have been treated as sovereign entities that are not subject to criminal

  liability. See Quern v. Jordan, 440 U.S. 332, 359 n.16 (1979) (“The General Government cannot

  punish the State[.]”) (quoting comments of Representative Burchard regarding the Civil Rights

  Act of 1871); United States v. Horn, 29 F.3d 754, 761 (1st Cir. 1994) (“sovereign immunity

  operates on the broadest possible level: it stands as an obstacle to virtually all direct assaults against

  the public fisc”). Although the United States Constitution does not explicitly address this concept,

  state ratifying conventions understood that the Constitution, as adopted, did not extend “the

  judicial power of the United States, in cases in which a state may be a party, … to criminal

  prosecutions, or to authorize any suit by any person against a state.” See Alden v. Me., 527 U.S.

  706, 718 (1999) (quoting the Rhode Island Convention’s proclamation that “it is declared by the

  Convention, that the judicial power of the United States, in cases in which a state may be a party,

  does not extend to criminal prosecutions, or to authorize any suit by any person against a state,”



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  and the New York Convention’s declaration of its understanding “that the judicial power of the

  United States, in cases in which a state may be a party, does not extend to criminal prosecutions,

  or to authorize any suit by any person against a state”).

         Five years after the Constitution was adopted, the Supreme Court ruled, contrary to that

  understanding as to civil actions, that the Constitution did not prohibit private citizens from suing

  states. See id. at 719–20. To “restore the original constitutional design” regarding private-citizen

  suits, Congress promptly passed the Eleventh Amendment, which explicitly provides that private

  citizens may not sue any state in federal court. See id. at 719–23.

         But no constitutional amendment has ever been needed to clarify the framers’ intent related

  to state immunity from criminal prosecution because the Supreme Court has never even questioned

  that immunity.3 As one Senator remarked when sponsoring Sections 5, 6, and 7 of the Enforcement

  Act of 1870 (Cong. Globe, 41st Cong., 2d Sess., pp. 3611–13), “[Congress] cannot pass a criminal

  law as applicable to a State.” And just as the federal government cannot hold a state criminally

  liable for the actions of its agents, “[a] state agency cannot be held criminally liable by either the

  state itself or the federal government.” In re Witness Before the Special Grand Jury 2000-2, 288

  F.3d 289, 294 (7th Cir. 2002) (citing Appendix to United States v. Price, 383 U.S. 787, 810

  (1967)); see Al-Haramain Islamic Found., Inc. v. Obama, 705 F.3d 845, 854 (9th Cir. 2012)

  (rejecting as “patently absurd” the idea that a criminal prosecution may be maintained against a

  government office); In re Grand Jury Subpoena Duces Tecum, 112 F.3d 910, 920 (8th Cir. 1997)




         3
            Although Virginia is a commonwealth rather than a state, states and commonwealths are
  identically situated with respect to their relationship to the nation as a whole, and precedents that
  address “state” immunity apply equally to the Commonwealth of Virginia. See Va. Marine Res.
  Comm'n v. Chincoteague Inn, 287 Va. 371, 381 (2014) (referring to the Commonwealth of Virginia
  as a “state sovereign”).


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  (although a corporation may be subject to both civil and criminal liability for the actions of its

  agents, “the actions of White House personnel, whatever their capacity, cannot expose the White

  House as an entity to criminal liability”); cf. United States ex rel. Oberg v. Pa. Higher Educ.

  Assistance Agency, 745 F.3d 131, 136 (4th Cir. 2014) (“Oberg I”) (noting that “arm-of-the-state

  status may well constitute an affirmative defense in the related Eleventh Amendment context”);

  NiGen Biotech, LLC v. Paxton, 804 F.3d 389, 393 n.2 (5th Cir. 2015) (stating in civil case that a

  state agency shares the sovereign immunity of the State); Cromer v. Brown, 88 F.3d 1315, 1332

  (4th Cir. 1996) (Eleventh Amendment sovereign immunity extends to “arms of a state,” including

  state agencies and state officers acting in their official capacities).

          Therefore, if CHA constitutes a sovereign arm of the Commonwealth of Virginia, it cannot

  constitute a “person” subject to criminal liability under sections 371 and 1347 unless Congress

  made its intent to abrogate the states’ immunity from prosecution “unmistakably clear in the

  language of the statute[s].” See Mojsilovic v. Bd. of Regents for the Univ. of Okla., 841 F.3d 1129,

  1131 (10th Cir. 2016) (quoting Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 73 (2000)); accord

  Stevens, 529 U.S. at 782 (examining whether text of the False Claims Act overcomes presumption

  that states are not covered).

          As we explain below, CHA does constitute an arm of the Commonwealth, and nothing in

  section 371 or 1347 overcomes the presumption that Commonwealth entities are not covered by

  those provisions.

          A.      The Fourth Circuit’s Arm-of-the-State Analysis Establishes that CHA Is an
                  Arm of the Commonwealth of Virginia.

          Whether a government entity is equivalent to, or part of, a state (or Commonwealth) for

  purposes of federal-court immunity is a question of federal law. Regents of the Univ. of Cal. v.




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  Doe, 519 U.S. 425, 429 (1997) (addressing sovereign immunity from civil liability for state

  university regents). In the Fourth Circuit, a court addressing this question generally considers four

  nonexclusive factors:

         (1) whether any judgment against the entity as defendant will be paid by the State
         or whether any recovery by the entity as plaintiff will inure to the benefit of the
         State;

         (2) the degree of autonomy exercised by the entity, including such circumstances
         as who appoints the entity’s directors or officers, who funds the entity, and whether
         the State retains a veto over the entity’s actions;

         (3) whether the entity is involved with state concerns as distinct from non-state
         concerns, including local concerns; and

         (4) how the entity is treated under state law, such as whether the entity’s
         relationship with the State is sufficiently close to make the entity an arm of the
         State.

  United States ex rel. Oberg v. Pa. Higher Educ. Assistance Agency, 804 F.3d 646, 650 (4th Cir.

  2015) (“Oberg II”); see Ram Ditta v. Maryland Nat’l Cap. Park & Planning Comm’n, 822 F.2d

  456, 457–58 (4th Cir. 1987).

         Although the Fourth Circuit has never been called upon to analyze these factors in the

  criminal context—likely because the government rarely, if ever, seeks to prosecute an entity that

  even arguably constitutes an arm of the state—the four-part test provides the best available

  framework here, given that the same state sovereignty concerns arise in both the civil and criminal

  contexts. An analysis of the factors establishes that CHA constitutes an arm of the Commonwealth

  of Virginia that is not a “person” under either section 371 or section 1347.

                    i.    The Treasury of the Commonwealth Is Implicated.

         The first Fourth Circuit factor considers whether any judgment against the entity will be,

  as a practical if not invariable matter, paid by the state. Oberg II, 804 F.3d at 657. This inquiry




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  considers both legal liability and “functional” liability. Id. If the state would be liable, the inquiry

  generally is at an end, and immunity attaches. Id. at 651 (quoting Cash v. Granville Cnty. Bd. of

  Educ., 242 F.3d 219, 223 (4th Cir. 2001) (“[I]f the State treasury will be called upon to pay a

  judgment against a governmental entity, the [entity is an arm of its creating state], and

  consideration of any other factor becomes unnecessary.”)).

          To determine whether the state is legally liable for an entity’s obligations, including a fine

  or penalty, courts consider whether state law provides that the entity’s obligations are binding on

  the state. See Oberg I, 745 F.3d at 137 (citation omitted). The enabling statute for CHA does not

  specifically address that question. Sections 1 and 7.1(6) of Virginia’s 1966 Acts of Assembly,

  chapter 271, authorize CHA to sue and be sued, make contracts or guarantees, incur liabilities,

  borrow money, and secure any obligations of others. But aside from providing in section 10 that

  any bonds CHA issues shall not be a debt of the state, the statute does not explicitly say whether

  the Commonwealth shares liability for CHA’s financial obligations, including for significant

  criminal penalties.

          The Commonwealth’s practical and functional financial liability to ensure CHA’s ability

  to fulfill its state mandate, however, is clear. Functional liability exists when, “as a practical matter,

  a judgment against a state-created entity puts state funds at risk, despite the fact that the state is

  not legally liable for the judgment.” Oberg II, 804 F.3d at 658. And here, criminal penalties or

  restitution would, depending on their magnitude, require recourse to the funds of the

  Commonwealth.

          In Va. Code § 15.2-5300, the Virginia General Assembly declared that:

          conditions resulting from the concentration of population of various cities of the
          Commonwealth require the construction, maintenance and operation of adequate
          hospital facilities for the care of the public health, for the control and treatment of



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         epidemics, for the care of the indigent and for the public welfare. In various cities
         of the Commonwealth, adequate hospital facilities are not available to the
         inhabitants, and, consequently, many persons, including persons of low income, are
         forced to do without adequate medical and hospital care and accommodations.
         These conditions cause an increase in and the spread of disease and crime and
         constitute a menace to the health, safety, morals and welfare of the Commonwealth
         and impair economic values. The aforesaid conditions also exist in certain areas
         surrounding such cities, and these conditions cannot be remedied by the ordinary
         operations of private enterprises. The providing of adequate hospital and
         medical care are public uses and purposes for which public money may be
         spent and private property acquired. It is in the public interest that adequate
         hospital and medical facilities and care be provided in such concentrated centers of
         population in order to care for and protect the health and public welfare. The
         provisions hereinafter enacted are declared as a matter of legislative determination
         necessary in the public interest.

  (Emphasis added.) To address the findings set forth in this declaration, the General Assembly also

  called for the creation of Hospital Authorities, such as CHA, to function as “a political subdivision

  of the Commonwealth, with such public and corporate powers as are set forth in th[at] chapter.”

  See Va. Code § 15.2-5302.

         Together with CHA’s enabling statute, these provisions establish that, if, in the course of

  this action, the fines and penalties imposed on CHA were to jeopardize in any meaningful manner

  CHA’s ability to continue to provide its statutorily mandated “public and essential governmental

  functions to provide for the public health [and] welfare,” the Commonwealth would have little

  practical choice but to intervene and to use “public money” to ensure that CHA could continue to

  perform its state-delegated functions. Indeed, the Commonwealth does so whenever necessary to

  protect the health and welfare of the public. Just last year, to address a community need for

  behavioral-health services, the Virginia General Assembly appropriated $4.5 million for CHA to

  use to provide and enhance behavioral-health services in its emergency department or outpatient




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  or inpatient settings.4 See https://budget.lis.virginia.gov/item/2023/2/HB6001/Chapter/1/312/. If

  financial repercussions from this proceeding were to endanger CHA’s ability to continue to

  provide adequate medical care for the community, the Commonwealth would have to appropriate

  much more than that. To deny that CHA functions as an arm of the Commonwealth when

  Commonwealth funds are in peril “would ignore economic reality.” See Ristow v. South Carolina

  Ports Auth., 58 F.3d 1051, 1054 (4th Cir. 1995) (finding Commonwealth Port Authority to be an

  arm of the Commonwealth despite absence of legal liability because, among other reasons, the

  Commonwealth “provides whatever economic support is necessary over and above the Port

  Authority’s net revenues to insure its continued vitality”).

         Moreover, it is telling that, since CHA’s inception, the Internal Revenue Service has

  recognized CHA as a political subdivision of the Commonwealth that is exempt from federal

  taxation. And, in an official statement issued for a 2019 hospital revenue-bond issue, the IRS

  described CHA’s defined benefit pension plan as a “governmental plan,” making it exempt from

  the Employee Retirement Income Security Act (commonly known as “ERISA”), which applies

  only to private-sector employees, and likewise described CHA’s section 457(b) employee

  retirement plan as a “governmental plan.” The IRS thus plainly views CHA as an extension of the

  Commonwealth for financial taxation purposes.

         For these reasons, this factor supports a finding that CHA is an arm of the Commonwealth.




         4
            Section U.1 of the appropriations bill includes a provision for the Virginia Department of
  Behavioral Health and Developmental Services to contract with CHA for Commonwealth use of
  up to eight beds of an acute, inpatient psychiatric to be built at CRMC, and it directs that
  department to “provide an estimated annual state contribution to support Chesapeake Regional
  Healthcare.” (Emphasis added.) In other words, it calls for the Commonwealth to assume liability
  for at least some of CRMC’s expenses.


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                   ii.   The Commonwealth Strictly Delimits CHA’s Autonomy.

         The second Fourth Circuit factor considers “the degree of autonomy that the entity

  exercises, including such circumstances as who appoints the entity’s directors and officers, who

  funds the entity, and whether the state retains a veto over the entity’s actions.” Oberg II, 804 F.3d

  at 668. “Also relevant to the autonomy inquiry is the determination whether an entity has the ability

  to contract, sue and be sued, and purchase and sell property, and whether it is represented in legal

  matters by the state attorney general.” Id. (internal quotation marks and citation omitted).

         In this case, although CHA functions with a degree of autonomy, it also faces significant

  state-regulated restrictions regarding the scope of its operations and its use of funds. For example,

  the Virginia General Assembly limits the scope of CHA’s operations to the services that it

  specifically enumerated in the statute, such as providing medical care and developing and

  operating medical facilities. 1966 Acts of Assembly, chapter 271, §§ 3, 4. It obligates CHA to hold

  all funds in trust and to apply them solely in the manner prescribed in its enabling statute. Id. § 14.

  It delineates who shall be included as members of the Authority and who may appoint them. Id. §

  2. It prohibits the Authority from discriminating against any person on the basis of race, color,

  religion, and other characteristics in the procurement of goods and services. Id. § 7.3. Although it

  authorizes CHA to exercise the power of eminent domain, it substantially restricts the reach of that

  power and the purpose for which it may be exercised. Id. § 5. And the list of state-issued controls

  and limits goes on and on.

         More fundamentally, CHA is a statutorily created entity, a creature of the Commonwealth

  rather than of any municipality, town, county, or city. Consequently, any autonomy that CHA

  possesses is by the grace of the Virginia General Assembly. That governing body retains control

  over CHA via its ability to amend CHA’s enabling statute as it sees fit. Indeed, since it was first



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  enacted in 1966, the General Assembly has amended that statute twelve times, most recently in

  2019. The General Assembly also can and does enact other types of legislation that affects CHA’s

  power and autonomy, such as Va. Code § 2.2-4345, which refers to CHA as a “public body” and

  permits it “in the exercise of any power conferred under Chapter 271” to “enter into contracts

  without competitive sealed bidding or competitive negotiation.” The Commonwealth, and not any

  city or city entity, continues to exercise active and ultimate control over CHA and its operations.

  These facts further confirm that CHA acts as an arm of the Commonwealth of Virginia.

         Moreover, although the Virginia statutes do not require the Commonwealth’s Attorney

  General to routinely represent the Authority in all of its legal matters, the Attorney General may

  “compromise and settle or discharge” “any dispute, claim or controversy [that] involves the

  interests of any … authority … of the Commonwealth.” See Va. Code § 2.2-514. If the settlement

  amount exceeds $250,000, the Governor must approve. Id. If the amount is less than $250,000, the

  Attorney General alone can agree to a settlement, so long as the head of the pertinent authority

  agrees too. Id.

         This provision allows for more than mere oversight by the Attorney General. It permits the

  Attorney General to actively resolve legal disputes involving an Authority’s interests. This

  evidences the General Assembly’s intent for CHA to serve as an arm of the Commonwealth.

                    iii.   CHA Is not Limited to Local Concerns.

         The third Fourth Circuit factor asks whether the entity claiming immunity is involved with

  “state” concerns rather than “non-state” concerns—meaning local or out-of-state matters. See

  Oberg II, 804 F.3d at 674. If the state (or Commonwealth) considers the entity’s work to be an

  “essential governmental function,” if that function is “clearly of legitimate state concern,” and if




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  the entity “does provide significant services to the citizens of [the state],” this factor supports a

  finding that the entity functions as an arm of the state. See id. at 675.

         As discussed above, the Virginia legislature created CHA as a public instrumentality

  “exercising public and essential governmental functions to provide for the public health, welfare,

  convenience and prosperity of” its service area. See 1966 Acts of Assembly, chapter 271, §§ 3, 16.

  It expressly stated, “The exercise of the powers granted by this act shall be in all respects for the

  benefit of the inhabitants of the Commonwealth, for the promotion of their safety, health, welfare,

  convenience and prosperity ….” Id. at § 16.

         The provision of medical care is of legitimate Commonwealth concern. See Va. Code §

  15.2-5300 (“The providing of adequate hospital and medical care are public uses and purposes for

  which public money may be spent and private property acquired. It is in the public interest that

  adequate hospital and medical facilities and care be provided in such concentrated centers of

  population in order to care for and protect the health and public welfare.”); Retail Indus. Leaders

  Ass’n v. Fielder, 475 F.3d 180, 203 (4th Cir. 2007) (improving health care for low-income residents

  is a traditional state concern); New York State Health Maint. Org. Conference v. Curiale, 64 F.3d

  794, 803 n.25 (2d Cir. 1995) (referring to state action involving health care as a “traditional

  exercise[] of state power”); Scholz v. Metro. Pathologists, P.C., 851 P.2d 901, 907 (Colo. 1993)

  (“[I]t can hardly be argued that the effort to increase the availability of health care is not a

  legitimate governmental interest.”). Indeed, it is of such great Commonwealth concern that a non-

  profit hospital such as CHA may not dispose of its assets without first notifying the Attorney

  General at least 60 days in advance of any proposed sale and “conven[ing] a public meeting to set

  forth its expectations concerning how the health care needs of the community will be served

  following the proposed disposition of assets.” See Va. Code § 32.10374. The Commonwealth



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  expends hundreds of millions of dollars on that function annually. See https://sfac.virginia.gov/pdf/

  health/2024/02012024_No3_VDH_Budget.pdf. When required to ensure that CHA can fulfill its

  state-mandated mission, it directs some of those funds directly to CHA. See, e.g.,

  https://budget.lis.virginia.gov/item/2023/2/HB6001/Chapter/1/312/.

         Although CHA’s enabling legislation provides that its “service area” must include the

  “residents of the City of Chesapeake,” the General Assembly did not limit service to the city’s

  confines. See id. Instead, it provided that its “public and essential governmental functions” are to

  be provided to all “such other persons who might be served by [CHA].” See id. That area currently

  extends well beyond the Chesapeake city limits, with CHA offering various services in Newport

  News, Norfolk, Virginia Beach, and Suffolk. See https://chesapeakeregional.com/locations. CHA

  also operates a mobile mammography unit that travels to several Virginia communities. See

  https://chesapeakeregional.com/services-specialties/breast-health/3d-mammography. It does not

  function as or within merely one city or municipal entity. Indeed, in the past 12 months alone,

  CMRC has served inpatients living in 375 distinct zip codes, 366 of which were outside the City

  of Chesapeake. Its much more extensive outpatient population comes from an even broader area.

         CHA’s widespread activities are essential to thousands of Virginia citizens, and those

  activities significantly affect both the health and wellness of the state’s citizens and Virginia’s

  overall economy. Although CHA also renders a small percentage of its services—less than 15

  percent—to patients who reside in northern North Carolina, the overwhelming majority of its

  revenue derives from its extensive in-state functions. Consequently, this Fourth Circuit factor

  favors a finding that CHA operates as an arm of the Commonwealth of Virginia. See Oberg II, 804

  F.3d at 674–75 (even if entity performs out-of-state activities, this factor addresses whether entity

  mainly participated in state activities); see also Ram Ditta, 822 F.2d at 459 (considering whether



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  services provided by entity inured mainly to benefit of locals rather than to state citizens in

  general).

                    iv.   Virginia Law Establishes that CHA Is an Arm of the Commonwealth.

            The final Fourth Circuit factor—that is, “how the entity is treated as a matter of state

  law”—puts the nail in the arm-of-the-state coffin because the question of whether an entity is

  properly considered an arm of the state (or Commonwealth) “can be answered only after

  considering the provisions of state law that define the agency’s character.” See Regents of the Univ.

  of Cal., 519 U.S. at 429. And the Virginia legislature explicitly defined CHA as a Commonwealth

  entity.

            As discussed above, CHA is a “Hospital Authority” created by the Virginia General

  Assembly in accordance with Va. Code § 15.2-5302. That provision defines a “Hospital Authority”

  as “a political subdivision of the Commonwealth, with such public and corporate powers as are set

  forth in th[at] chapter ….” Id.

            CHA’s own enabling legislation likewise describes CHA as a “public body politic and

  corporate … with such public and corporate powers” as set forth in the statute. See 1966 Acts of

  Assembly, chapter 271, § 3. The General Assembly deemed it to be a “public instrumentality,

  exercising public and essential governmental functions.” See id.; see also id. § 16. Section 5 of the

  statute authorizes CHA to acquire property “by the exercise of the power of eminent domain,”

  which is a traditional state function.5 Section 16 of the statute allows it to issue tax-free bonds.



            5
            Although Section 5 of Chapter 271 limits CHA’s exercise of its power of eminent
  domain to “within the corporate limits of the City of Chesapeake and only for the purpose of
  acquiring property to be used for operating projects,” CHA’s power of eminent domain does not
  depend on the approval or assistance of another body, such as the City of Chesapeake. CHA
  itself determines whether it will exercise that power, and it has done so to acquire a significant
  amount of real property.


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  And, in section 10, the statute expressly refers to CHA as a “political subdivision” of the

  Commonwealth by stating, “The bonds and other obligations of the Authority ... shall not be a debt

  of the Commonwealth or any political subdivision thereof and neither the Commonwealth nor any

  political subdivision thereof other than the Authority shall be liable thereon[.]” (Emphasis added.)

         Considering these fundamental characteristics, Virginia courts have consistently

  determined that, as a Commonwealth entity, CHA enjoys sovereign immunity from civil claims.

  See Dupuy German v. Perwaiz, 109 Va. Cir. 276, 278 (Va. Cir. 2022), attached as Ex. B;

  Fernandez-Becerra v. Javid A. Perwaiz M.D., et al., Case No. CL20-5901 (Chesapeake Cir. Oct.

  7, 2021), attached as Ex. C; Lizbeth Holdstein v. Chesapeake Hosp. Auth., et al., Case No. CL13-

  1016 (Va. Beach Cir. July 18, 2014), attached as Ex. D; James v. Chesapeake General Hosp., Case

  No. CL96-1259 (Chesapeake Cir. March 25, 1998), attached as Ex. E; Brooks v. Jamali, Case No.

  19807-M (Chesapeake Cir. July 31, 1985), attached as Ex. F; Jennings v. Chesapeake Gen. Hosp.,

  Case No. 10676-M (Chesapeake Cir. June 4, 1985), attached as Ex. G; Holloman v. Chesapeake

  Hosp. Auth., Record No. 840237 (Nov. 16, 1983), attached as Ex. H; Webster v. Chesapeake Gen.

  Hosp., Case No. 17733-H (Chesapeake Cir. Aug. 12, 1982), attached as Ex. I; cf. Hughes v. Lake

  Taylor City Hosp., 54 Va. Cir. 239, 241 (Norfolk Cir. 2000) (holding similarly situated hospital

  authority immune from liability), attached as Ex. J. Other courts have determined that entities that

  are similarly situated to CHA likewise constitute state entities. See United States ex rel. King v.

  Univ. of Texas Health Sci. Ctr., 544 Fed. Appx. 490, 495–98 (5th Cir. 2013) (University of Texas

  Health Science Center-Houston is an arm of the state and consequently is not a “person” under the

  False Claims Act); United States ex rel. Adrian v. Regents of Univ. of California, 363 F.3d 398,

  401–02 (5th Cir. 2004) (Regents of the University of California is a state agency not subject to the

  False Claims Act; citing cases); United States v. Harris Cnty. Hosp. Dist., Civil Action No. 4:20-



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  CV-0296, 2023 U.S. Dist. LEXIS 15766, *1 (S.D. Tex. Jan. 31, 2023) (Harris County Hospital

  District is a political subdivision of the State of Texas that is immune from suit; unpublished);

  United States ex rel. Jones v. Univ. of Utah Health Scis. Ctr., Case No. 2:11cv1200, 2013 U.S.

  Dist. LEXIS 137797, *6 (D. Utah 2013) (“There is no question that [university hospitals] are state

  entities and are therefore not ‘persons’ under the FCA.”; unpublished).

         These rulings are consistent with the Supreme Court’s decision in Cook County v. United

  States ex rel. Chandler, 538 U.S. 119 (2003). At issue in Chandler was whether a county-created

  hospital authority—not a state-created one as here—constituted a “person” for purposes of the

  False Claims Act and qui tam liability. The question arose because, under Stevens, 529 U. S. at

  787–88, states are not “persons” subject to qui tam liability. Noting that state agencies are immune

  from qui tam liability but “municipal” corporations—created by municipalities (and their

  voters)—are not, the Court held that the Cook County Hospital, which had been created by a

  county, was not an arm of the state and consequently qualified as a “person” for purposes of the

  FCA. 538 U.S. 126–29 and n.7.

         Relying on Chandler, the Fourth Circuit noted in Oberg II, 804 F.3d at 650, that

  “[c]orporations, including municipal corporations like cities and counties, are ‘persons’ under the

  FCA, see [Chandler, 538 U.S. at 126–27], but states and state agencies are not[.]” Given that CHA

  is not a city or county-created entity but is instead a Commonwealth-created entity, CHA

  constitutes an arm of the Commonwealth of Virginia and is entitled to the presumption that it does

  not constitute a “person” subject to liability under section 371 or section 1347.




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         B.      The Government Cannot Overcome the Presumption that Congress Did not
                 Intend Section 371 or Section 1347 to Apply to States and State Entities.

         “The presumption is, of course, not a ‘hard and fast rule of exclusion,’ … but it may be

  disregarded only upon some affirmative showing of statutory intent to the contrary.” Stevens, 529

  U.S. at 781 (citations omitted). Congressional intent for a statute to render a state liable must be

  “unmistakably clear in the language of the statute.” Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 73

  (2000) (internal quotation marks omitted). This is because (1) “the ordinary rule of statutory

  construction” is that “if Congress intends to alter the usual constitutional balance between States

  and the Federal Government, it must make its intention to do so unmistakably clear in the language

  of the statute,” and (2) “statutes should be construed so as to avoid difficult constitutional

  questions.” Stevens, 529 U.S. at 787.

         Yet neither section 371 nor section 1347 includes any language, much less “unmistakably

  clear” language, demonstrating Congressional intent to overcome the presumption against state

  criminal liability. Section 371 applies only to “persons” who conspire to commit an offense against

  the United States or to defraud the United States, while section 1347 applies to “whoever”

  participates in a health-care-fraud scheme, noting that such “person” can be fined or imprisoned

  and that “a person need not have actual knowledge of th[at] section or specific intent to commit a

  violation of th[at] section.” Unlike other statutory provisions that define “person” to include state

  entities, see, e.g., 42 U.S.C. § 6903(15), neither section 371 nor section 1347 defines “person” or

  “whoever,” and “standing alone, these broad terms signal no intent to abrogate sovereign immunity

  — certainly not an ‘unmistakably clear’ congressional intent to do so.” See Mojsilovic v. Bd. of

  Regents for the Univ. of Okla., 841 F.3d 1129, 1132–33 (10th Cir. 2016) (citing Atascadero State

  Hosp. v. Scanlon, 473 U.S. 234, 246 (1985)), in which the Supreme Court concluded that statutory




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  language creating liability for “any recipient” of federal assistance did demonstrate an

  unmistakably clear intent to abrogate sovereign immunity; also citing Fla. Prepaid Postsecondary

  Educ. Expense Bd. v. Coll. Sav. Bank, 527 U.S. 627, 631–32 (1999), in which the Supreme Court

  observed that previously undefined statutory language creating liability for “whoever” violated

  patent laws did not abrogate sovereign immunity). Given that 1 U.S.C. § 1 provides that “[i]n

  determining the meaning of any Act of Congress, unless the context indicates otherwise … the

  words ‘person’ and ‘whoever’ include corporations, companies, associations, firms, partnerships,

  societies, and joint stock companies, as well as individuals”—with no mention of “states” or state

  entities—the text of the statutes at issue here “does less than nothing to overcome the presumption

  that States are not covered.” See Stevens, 529 U.S. at 782 (emphasis in original).

         For similar reasons and others, the Supreme Court determined in Stevens, 529 U.S. at 781–

  88, that the civil False Claims Act, which likewise refers to “persons” without specifically defining

  that term, does not render states—or state entities—liable for civil false claims. In construing the

  FCA, the Stevens Court noted that “the Program Fraud Civil Remedies Act of 1986 (PFCRA), a

  sister scheme creating administrative remedies for false claims—and enacted just before the FCA

  was amended in 1986—contains (unlike the FCA) a definition of ‘persons’ subject to liability, and

  that definition does not include States.” Id. at 786 (citing 31 U.S.C. § 3801(a)(6)). The Court

  remarked that “[i]t would be most peculiar to subject States to treble damages and civil penalties

  in qui tam actions under the FCA, but exempt them from the relatively smaller damages provided

  under the PFCRA.” Id. It would be even more peculiar to subject states—and state entities—to

  potentially crippling criminal penalties for conduct similar to that addressed by the FCA and the

  PFCRA without any clear indication of Congressional intent to do so.




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         CHA therefore is not a “person” subject to section 371 or section 1347, and the indictment

  should be dismissed with prejudice.

  IV.    CHA’s Sovereign Immunity Constitutes a Complete Bar to this Prosecution.

         Even if this Court were to determine that the term “person” as used in sections 371 and

  1347 could include states and state entities, the indictment should still be dismissed with prejudice

  based on sovereign immunity. “Sovereign immunity is a rule of social policy, which protects the

  state from burdensome interference with the performance of its governmental functions and

  preserves its control over state funds, property, and instrumentalities.” Jean Moreau & Assocs. v.

  Health Ctr. Comm’n, 283 Va. 128, 137 (2012) (quotation marks and citations omitted).

         “[T]he doctrine of sovereign immunity is ‘alive and well’ in Virginia.” Messina v. Burden,

  228 Va. 301, 307 (1984). Undoubtedly, the Commonwealth itself is entitled to sovereign

  immunity. Maddox v. Commonwealth, 267 Va. 657 (2004). And, when the General Assembly

  creates a separate entity as an agency of the Commonwealth to perform a function of state

  government, that entity will also be clothed with the Commonwealth’s immunity. Va. Elec. &

  Power Co. v. Hampton Redevelopment & Hous. Auth., 217 Va. 30, 32 (1976) (citing Elizabeth

  River Tunnel District v. Beecher, 202 Va. 452, 1456–57 (1961)). To obtain such immunity, the

  entity must “come into existence by state initiative” and not “local activation, [that is] optional

  with each locality.” Id. at 32; see also Cnty. of York v. Peninsula Airport Com., 235 Va. 477, 481

  n.1 (1988) (“It is true that when participating localities retain ‘substantial local control’ over an

  entity they have created, local activation negates its status as a state agency or an ‘arm’ of the

  Commonwealth.”).

         For all the reasons discussed above, CHA constitutes an arm of the Commonwealth of

  Virginia exercising essential governmental functions. And, as explained above, states and arms of



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  the state are wholly immune from criminal prosecution, absent an express waiver. Given the lack

  of waiver here, CHA should not be required to run the gauntlet of standing trial. Instead, the

  indictment should be immediately dismissed with prejudice.

  V.     If CHA Constitutes a Municipal Corporation, It Is Still Entitled to the
         Commonwealth’s Sovereign Immunity.

         Even if this Court were to view CHA as a municipal corporation rather than as some other

  form of Commonwealth entity, CHA would still be entitled to dismissal of the indictment because,

  “[w]hen municipal corporations exercise governmental functions, they act as arms or agencies of

  the State” and share in the Commonwealth’s sovereign immunity. See Jean Moreau & Assocs. v.

  Health Ctr. Comm’n, 283 Va. 128, 140 (Va. 2012) (citing Southern Railway Co. v. City of

  Danville, 175 Va. 300, 305 (1940)); accord Massey v. Va. Polytechnic Inst. & State Univ., 75 F.4th

  407, 415 (4th Cir. 2023) (“in cases where the defendant is not the Commonwealth itself but is

  instead a municipality or a quasi-governmental entity authorized by state law, the determination

  of whether sovereign immunity applies turns on an evaluation of various factors, many of them

  fact-driven, such as whether the municipality was engaged in a governmental function or a

  proprietary function”).

         Affirming a state circuit court’s dismissal on sovereign-immunity grounds of a contractor’s

  quantum meruit suit against a county health center commission, the Jean Moreau court explained,

  “The shield of sovereign immunity does not just apply to the State; it also applies to municipal

  corporations under certain circumstances”—that is, when a municipal corporation is performing

  governmental functions, rather than proprietary functions. Id. at 137. And “[i]f municipal

  corporations act as arms or agencies of the State when they exercise governmental functions, then

  they should be protected — like the Commonwealth — from both tort and quasi-contractual




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  claims.” Id. at 140. The court concluded, therefore, that “municipal corporations performing

  governmental functions are immune from quantum meruit claims and … recovery against

  municipal corporations on a quantum meruit basis is limited to proprietary functions.” Id.; accord

  Consortium Sys., LLC v. Lane Eng’g, Inc., 95 Va. Cir. 73, 75 (Va. Cir. 2017) (“Municipal

  corporations are also entitled to sovereign immunity when exercising governmental functions, as

  they are acting as arms or agencies of the State.”).

         The same principles apply here. If CHA constitutes a municipal corporation, and if CHA’s

  actions in permitting Dr. Perwaiz to use its facilities and in billing federal payers for the hospital

  services attendant to that use constituted governmental functions, CHA is cloaked with the same

  sovereign immunity that the Commonwealth enjoys. “Governmental functions are powers and

  duties performed exclusively for the public welfare.” City of Chesapeake v. Cunningham, 268 Va.

  624, 633 (Va. 2004).

         As a Virginia Circuit Court determined in a civil suit against CHA, CHA’s actions in

  granting Dr. Perwaiz hospital privileges constituted CHA’s operational—and thus governmental—

  functions. Perwaiz, 109 Va. Cir. at 279–80. The court explained that a “governmental function”

  “entails the exercise of an entity’s political, discretionary, or legislative authority,” and said, “The

  granting of credentials and hospital privileges involves a great deal of discretion.” Id. at 279. The

  court concluded that “[t]he evaluation of the relevant standards of practice and a physicians’ [sic]

  compliance therewith or departures therefrom involve significant discretion and therefore

  constitute a governmental function.” Id. at 279–80. Indeed, the enabling legislation expressly

  provides that CHA’s “operation and maintenance of any project which the Authority is authorized

  to undertake will constitute the performance of an essential governmental function[.]” 1966 Va.

  Acts, ch. 271, § 16.



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         Consequently, the actions of CHA delineated in the indictment, all of which relate to the

  billing for medical services provided by CRMC, fell within CHA’s governmental functions. Under

  these circumstances, regardless of whether CHA is characterized as Commonwealth entity or as a

  municipal corporation, CHA is entitled to sovereign immunity. See Southern R. Co. v. Danville,

  175 Va. 300, 305 (Va. 1940); see also Hughes, 54 Va. Cir. at 241 (holding that Virginia hospital

  authority that constituted a municipal corporation was entitled to sovereign immunity from tort

  liability); Stevens v. Hospital Auth. of Petersburg, 42 Va. Cir. 321, 323 (Va. Cri. 1997) (same); cf.

  Jean Moreau & Assocs., 283 Va. at 145 (affirming dismissal of suit against county health center

  commission where commission was municipal corporation exercising governmental functions,

  entitling it to sovereign immunity).

  VI.    Even if CHA Is Not a Sovereign Arm of the State, it Could Never Form the Mens Rea
         Necessary for a Conviction Under Section 371 or Section 1347.

         Finally, even if this Court views CHA as a municipal corporation that is not entitled to

  sovereign immunity, the indictment must still be dismissed. In holding that punitive damages are

  not available against a municipality in suits under the civil racketeering statutes, 18 U.S.C. § 1961

  et seq., numerous courts have held that “government entities are incapable of forming malicious

  intent.”6 Lancaster Cnty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d 397, 404 (9th Cir. 1991)

  (citing case); accord Liang v. City of N.Y., No. 10-CV-3089 (ENV) (VVP), 2013 U.S. Dist. LEXIS

  136795, at *39 (E.D.N.Y. Sep. 18, 2013) (citing cases and noting, “At the pleading doorway,

  Liang’s RICO claim against the City itself is dismissed because, as many previous courts in this

  Circuit have held, ‘a municipal corporation is incapable of having the criminal intent to support




         6
           Section 1961(1) defines “racketeering activity” as including various criminal activities
  that require a showing of malicious intent, such as various types of fraud.


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  RICO’s predicate offense requirement.’”); see also Pedrina v. Chun, 97 F.3d 1296, 1300 (9th Cir.

  1996); Genty v. Resolution Trust Corp., 937 F.2d 899, 914 (3d Cir. 1991); Rogers v. City of New

  York, 359 F. App’x 201, 204 (2d Cir. 2009) (citing Pedrina and holding that “there is no municipal

  liability under RICO”); Navajo Nation v. Peabody Holding Co., 209 F. Supp. 2d 269, 272 (D.D.C.

  2002) (describing the Court’s earlier grant of a motion to dismiss RICO claims against a municipal

  corporation that could not be liable under RICO for punitive damages); Frooks v. Town of

  Cortlandt, 997 F. Supp. 438, 457 (S.D.N.Y. 1998) (noting that “every court in this Circuit that has

  considered the issue has held that a municipality cannot form the requisite criminal intent to

  establish a predicate act, and has therefore dismissed the claim against the municipality”), aff’d,

  182 F.3d 899 (2d Cir. 1999).

         These cases rely on the common-law rule that the Supreme Court addressed in Newport v.

  Fact Concerts, 453 U.S. 247, 267 (1981), that the criminal intent of an agent of a municipal

  corporation can never be imputed to the municipal corporation itself because the retribution for a

  municipality’s wrong should not “be visited upon the shoulders of blameless or unknowing

  taxpayers.” The Newport Court explained:

         Under ordinary principles of retribution, it is the wrongdoer himself who is made
         to suffer for his unlawful conduct. If a government official acts knowingly and
         maliciously to deprive others of their civil rights, he may become the appropriate
         object of the community’s vindictive sentiments. … A municipality, however, can
         have no malice independent of the malice of its officials. Damages awarded for
         punitive purposes, therefore, are not sensibly assessed against the governmental
         entity itself.

  Id. Referring to the Missouri Supreme Court’s reference in Hunt v. City of Boonville, 65 Mo. 620,

  624, 625 (1877), to “‘respectable authority’ to the effect that municipal corporations ‘can not, as

  such, do a criminal act or a willful and malicious wrong and they cannot therefore be made liable

  for exemplary damages,’” the Court distinguished municipal corporations from ordinary private



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  corporate entities, stating:

          The relation which the officers of a municipal corporation sustain toward the
          citizens thereof for whom they act, is not in all respects identical with that existing
          between the stockholders of a private corporation and their agents; and there is not
          the same reason for holding municipal corporations, engaged in the performance of
          acts for the public benefit, liable for the willful or malicious acts of its officers, as
          there is in the case of private corporations.

  Id. at 261–62 (quoting Boonville, 65 Mo. at 625 (alteration omitted)). The Court explained that,

  because a municipal entity consists of citizens and taxpayers, punishing such an entity for injuries

  inflicted by its officers and agents would in fact punish the very victims of the crime. Id. at 263–

  63. As the Ninth Circuit said in Lancaster Cnty Hosp., 940 F.2d at 404, “[P]ublic policy is offended

  if all the citizens of a state are made liable for extraordinary damages as a result of the actions of

  a few dishonest officials.” Id. at 404.

          Although we categorically reject the charge that any CHA official engaged in fraudulent

  activity with respect to CHA’s billing for Dr. Perwaiz’s services (or with respect to anything else,

  for that matter), these cases establish that, even if they had, their criminal intent may not be imputed

  to CHA as an entity. Therefore, the United States could never sustain the section 371 or section

  1347 charge against CHA, and the indictment should be dismissed with prejudice.




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                                           Conclusion

        For these reasons, CHA requests this Court to dismiss the indictment with prejudice.

  DATED: January 28, 2025


                                             By:    /s/ Nick Oberheiden
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 28, 2025, a true and correct copy of the above and foregoing

  instrument was served on all counsel of record via CM-ECF filing.



                                                                      /s/ William H. Newman
                                                                      William H. Newman




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                                  Exhibit A
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Virginia Authorities
Chesapeake Hospital Authority
Created
1966 Acts of Assembly, c. 271.

Amendments
1971, c. 97 (§§ 2, 11)
1971, c. 245 (provided effective date for 1971, c. 97)
1973, c. 53 (§ 2)
1987, c. 396 (§§ 2, 3, 4, 5, 7, 7.1 [added], 9, 10, 11, 12, 13)
1990, c. 419 (§ 7.2 [added])
1993, cc. 281, 300 (§§ 4, 5)
1998, cc. 659, 697 (§ 2)
1998, cc. 666, 697 (§ 7.3 [added])
2006, c. 658 (§§ 2, 7, 7.1, 7.2)
2015, c. 358 (§ 2)
2017, cc. 541, 557 (§ 2)
2019, cc. 249, 250 (§ 7.1)
§ 1. There is hereby created a public body politic and corporate to be known as the "Chesapeake
Hospital Authority," hereinafter referred to as "The Authority," with such public and corporate
powers as are hereinafter set forth. The Authority may sue and be sued, plead and be impleaded,
and shall have the power and authority to contract and be contracted with and to exercise and
discharge all the powers and duties imposed and conferred upon it, as hereinafter provided.
(1966, c. 271)

§ 2. The Authority shall be composed of eleven members, two of whom shall be licensed members
of the medical profession, all of whom shall be appointed by the city council. The terms of the
members shall be four years and staggered so that no more than four members shall be appointed
in any one year; provided, however, that for terms which commence in 1999, the council shall
appoint four members for four-year terms and two members for five-year terms, and for terms
which commence in 2001, the council shall appoint four members for four-year terms and one
member for a three-year term. Any member may be reappointed; however, after July 1, 2017, no
member shall serve more than two consecutive terms. Any person who has served more than one
and one-half terms as a member of the Authority as of July 1, 2017, shall not be eligible for
reappointment for another consecutive term. A member of the Authority shall serve at the
pleasure of the city council of the City of Chesapeake. No Authority member shall work for the
Authority within one year after serving as a member. Members shall be compensated for their
services in the amount of $250 per attendance at each meeting, provided, however, that no
member shall be compensated for participation in a meeting by electronic means when the
member is not physically present at the meeting. The Authority shall adopt as part of its bylaws a
definition of "compensable meeting" prior to compensating any member in accordance with this
section. Members shall be entitled to reimbursement for necessary traveling and other expenses
incurred while engaged in the performance of their duties. Each member shall continue to hold
office until the earlier of the effective date of his resignation or the date on which his successor
has been appointed and qualified. The council shall have the right to remove any member or
officer, for malfeasance or misfeasance, incompetency or gross neglect of duty. Vacancies shall
be filled by appointment of the council for unexpired terms, or in the case of an increase in the
size of the Authority, filled by appointment of the council, which appointments may be for an
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initial term less than four years. Members shall take an appropriate oath of office and same shall
be filed with the city clerk. Members shall elect on an annual basis one of their number as
chairman and another as vice-chairman and shall also elect a secretary and treasurer for terms to
be determined by them, who may or may not be one of the members. The same person may serve
as both secretary and treasurer. The members shall make such rules, regulations and bylaws for
their own government and procedure as they shall determine; they shall meet regularly at least
once a month and may hold such special meetings as they deem necessary. (1966, c. 271; 1971, c.
97; 1973, c. 53; 1987, c. 396; 1998, cc. 659, 697; 2006, c. 658; 2015, c. 358; 2017, cc. 541, 557)

§ 3. The Authority shall be deemed to be a public instrumentality, exercising public and essential
governmental functions to provide for the public health, welfare, convenience and prosperity of
the residents of the City of Chesapeake and such other persons who might be served by the
Authority ("its service area") and to provide improved medical care and related services to such
residents and persons and is hereby authorized to exercise the powers conferred by the following
sections. (1966, c. 271; 1987, c. 396)

§ 4. The Authority may plan, design, construct, renovate, enlarge, equip, maintain and operate
projects for the purpose of providing medical care and related services and other appropriate
purposes. The Authority may lease, sell or otherwise convey any or all of its projects to others
who agree to provide for the operation of the same if the Authority determines that such sale,
lease or other conveyance will assist, promote or further the purposes and intent of this act,
subject to the provisions of § 5 below.

"Projects" as used in this act shall mean any medical facilities and approaches thereto and
appurtenances thereof. Medical facilities shall include any and all medical facilities and
equipment, including, without limitation, hospitals, nursing homes, continuing care facilities,
self-care facilities, medical office facilities, clinics, out-patient surgical centers, alcohol,
substance abuse and drug treatment centers, laboratories, research facilities, sanitariums,
hospices, facilities for the residence or care of the elderly, the handicapped or the chronically ill,
residential facilities for nurses, interns, and physicians and any other kind of facility for the
treatment of sick, disturbed or infirm persons, together with all related and supporting facilities
and equipment necessary and desirable in connection therewith or incidental thereto, or
equipment alone, including, without limitation, parking facilities, kitchen, laundry, laboratory,
pharmaceutical, administrative, communications, computer and recreational facilities and
equipment, storage space, mobile medical facilities, vehicles and other equipment necessary or
desirable for the transportation of medical equipment or the transportation of patients.

"Operating project" as used in this act shall mean any project operated by the Authority or
directly controlled by the Authority and shall include, without limitation, parking facilities
operated by the Authority or an agent therefor and medical office buildings with respect to which
the Authority exercises the normal powers of a landlord. (1966, c. 271; 1987, c. 396; 1993, cc. 281,
300)

§ 5. The Authority may acquire property, real or personal, by purchase, gift, devise or by the
exercise of the power of eminent domain, on such terms and conditions, and in such manner as it
may deem proper, and such rights, easements or estates therein as may be necessary for its
purposes, and sell, lease and dispose of the same, or any portion thereof or interest therein
whenever it shall become expedient to do so and in any manner it deems appropriate, including
without limitation by the granting of mortgages and other liens, the conveyance of property to
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related entities and the disposition of property no longer necessary or desirable for its
operations; provided, however, that the Authority may not sell or otherwise dispose of all, or
substantially all, of its property providing hospital care, other than to an entity controlled by the
Authority, without the approval of the City Council of the City of Chesapeake, expressed in a
resolution. For purposes of the previous sentence, the granting of mortgages, deeds of trust,
security interests, and other liens as security for indebtedness or other obligations of the
Authority shall not be considered a sale or other disposition nor shall approval of the City
Council be required for any sale or other disposition resulting from the execution or foreclosure
or other enforcement of such liens or other security devices. The exercise of the power of
eminent domain shall be in accordance with Chapter 1.1 of Title 25 of the Code of Virginia and
shall be exercised only within the corporate limits of the City of Chesapeake and only for the
purpose of acquiring property to be used for operating projects. No property of any corporation
itself having the power of eminent domain may be condemned hereunder. (1966, c. 271; 1987, c.
396; 1993, cc. 281, 300)

§ 6. The Authority may fix and revise from time to time and charge and collect rates, rentals, fees
and other charges for the services and facilities furnished by the Authority, and establish and
revise from time to time regulations, in respect to the use, occupancy or operation of any such
facility or part thereof, or service rendered. (1966, c. 271)

§ 7. The Authority may accept loans, grants, or assistance from the federal government, the
Commonwealth, any municipality thereof, or from any other sources, public or private, to carry
out any of its purposes and may enter into any agreement or contract regarding or relating to the
acceptance or use or repayment of any such loan, grant or assistance. This power shall include
the power to refinance all or any portion of the Authority's debt, to renegotiate the terms of all or
any portion of such debt, and to retire all or any portion of such debt prior to its maturity date.
(1966, c. 271; 1987, c. 396; 2006, c. 658)

§ 7.1. The Authority shall have the following powers to carry out the purposes and intent of this
act:

   (1) To provide or assist in providing medical care and related services in its service area.

   (2) To promote, develop, improve and increase the commerce and economic development of
   the City of Chesapeake and its environs.

   (3) To assist in or provide for the creation of domestic or foreign stock and nonstock
   corporations, limited liability companies, partnerships, limited partnerships, associations,
   foundations or other supporting organizations or other entities, and to purchase, receive,
   subscribe for or otherwise acquire, own, hold, vote, use, employ, sell, mortgage, lend, pledge,
   or otherwise dispose of, shares of or other interests in, or obligations of, any domestic or
   foreign stock and nonstock corporations, limited liability companies, partnerships, limited
   partnerships, associations, foundations or other supporting organizations, joint ventures or
   other entities organized for any purpose, or direct or indirect obligations of the United States,
   or of any other government, state, territory, governmental district or municipality or of any
   other obligations of any domestic or foreign stock or nonstock corporation, limited liability
   company, partnership, limited partnership, association, foundation or other supporting
   organization, joint venture or other entity organized for any purpose or any individual. The
   investment of funds held by the Authority, or contributed to its affiliated foundations, shall
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   be exempt from the application of the Investment of Public Funds Act, Chapter 45 (§ 2.2-4500
   et seq.) of Title 2.2 of the Code of Virginia. The investments of any entity wholly owned or
   controlled by the Authority that is an "institution," as such term is defined in § 55-268.12,
   shall be governed by the Uniform Prudent Management of Institutional Funds Act (§ 55-
   268.11 et seq.) of the Code of Virginia.

   (4) To provide domestic or foreign stock and nonstock corporations, limited liability
   companies, partnerships, limited partnerships, associations, foundations or other supporting
   organizations, joint ventures or other entities owned in whole or in part or controlled, directly
   or indirectly, in whole or in part, by the Authority with appropriate assistance, including
   making loans and providing time of employees, in carrying out any activities authorized by
   this act.

   (5) To make loans and provide other assistance to domestic or foreign stock and nonstock
   corporations, limited liability companies, partnerships, limited partnerships, associations,
   foundations or other supporting organizations, joint ventures or other entities.

   (6) To make contracts or guarantees, incur liabilities, borrow money, or secure any obligations
   of others.

   (7) To transact its business, locate its offices and control, directly or through domestic or
   foreign stock and nonstock corporations, limited liability companies, partnerships, limited
   partnerships, associations, foundations or other supporting organizations, joint ventures or
   other entities, facilities that will assist or aid the Authority in carrying out the purposes and
   intent of this act.

   (8) To participate in joint ventures with individuals, domestic or foreign stock and nonstock
   corporations, limited liability companies, partnerships, limited partnerships, associations,
   foundations or other supporting organizations or other entities for providing medical care or
   related services or other activities that the Authority may undertake to the extent that such
   undertakings assist the Authority in carrying out the purposes and intent of this act.

   (9) To conduct or engage in any lawful business, activity, effort or project, necessary or
   convenient for the purposes of the Authority or for the exercise of any of its powers.

   (10) To exercise all other powers granted to nonstock corporations pursuant to § 13.1-826 of
   the Code of Virginia, as amended.

   (11) To procure such insurance, participate in such insurance plans, or provide such self-
   insurance, or any combination thereof, as it deems necessary or convenient to carry out the
   purposes and provisions of this act. The purchase of insurance, participation in an insurance
   plan, or creation of a self-insurance plan by the Authority shall not be deemed a waiver or
   relinquishment of any sovereign immunity to which the Authority or its members, officers,
   directors, employees, or agents are otherwise entitled. (1987, c. 396; 2006, c. 658; 2019, cc.
   249, 250)

§ 7.2. Notwithstanding the Virginia Freedom of Information Act (§ 2.2-3700 et seq) of the Code of
Virginia, the Authority shall be permitted to conduct executive or closed meetings to discuss or
consider the condition, acquisition or use of real or personal property or plans for the future of
the Authority which could affect the value of property, real or personal owned or desirable for
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bequests and fund-raising activities; grants and contracts for services or work to be performed by
the Authority; marketing and operational strategies that will affect competitive position; and the
discussion or consideration of members of its medical staff, and qualifications and appointments
thereto. The Authority shall follow the provisions of § 2.2-3712 when convening executive or
closed meetings.

The Authority shall not be required to disclose records pertaining to the qualifications for or
continued membership on its medial staff; proprietary information gathered by or in the
possession of the Authority from third parties; contract cost estimates prepared for confidential
use and awarding contracts for construction or the purchase of goods or services; data, records or
information of a proprietary nature produced or collected by or for the Authority or members of
its staff; financial statements not publicly available which may be filed with the Authority from
third parties; customer account information; consulting or other reports paid for by the
Authority to assist the Authority in connection with its strategic planning and goals; and the
determination of marketing and operational strategies that affect competitive position.

The Authority's exemptions from the Freedom of Information Act shall be limited to those
activities specifically described in this section and those exemptions otherwise granted under the
provisions of the Act. Except as specifically provided in this section, the Authority shall be
subject to the provisions of the Freedom of Information Act.

Notwithstanding exemptions from the Freedom of Information Act granted by this section, the
Authority shall comply with all applicable state reporting requirements. (1990, c. 419; 2006, c.
658)

§ 7.3. The provisions of the Virginia Public Procurement Act (§ 11-35 et seq. of the Code of
Virginia) shall not apply to the Authority in the exercise of any power conferred under this
chapter. The Authority shall not discriminate against any person on the basis of race, color,
religion, national origin, sex, pregnancy, childbirth or related medical conditions, age, marital
status, or disability in the procurement of goods and services. (1998, cc. 666, 697)

§ 8. The Authority may borrow money and issue bonds as hereinafter provided. (1966, c. 271)

§ 9. In addition to the powers granted by general law or by charter, any county or municipality in
the Commonwealth is empowered to cooperate with the Authority as follows:

   (a) To make such appropriations and provide such funds for the operation and carrying out
   the purposes of the Authority as the governing body may deem proper, either by outright
   donation or by loan, or the governing body may agree with such Authority to take such action.

   (b) To dedicate, sell, conveyor lease any of its interest in property, or grant easements,
   licenses or any other privileges therein to any such Authority.

   (c) To cause parks, playgrounds, recreational, community, educational, water, sewer or
   drainage facilities, or any other works which it is otherwise empowered to undertake, to be
   furnished adjacent to or in connection with property of or any facility or project of such
   Authority.

   (d) To furnish, dedicate, close, pave, install, grade or regrade, plan or replan streets, roads,
   roadways, alleys, sidewalks or other places which it is otherwise empowered to undertake.
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   (e) Plan or replan, zone or rezone any part of such county or municipality in connection with
   the use of any property of such Authority or any property adjacent to the property of such
   Authority or any of its facilities or projects which it is otherwise empowered to undertake, in
   accordance with general laws.

   (f) To cause services to be furnished to the Authority of the character which such county or
   municipality is empowered to furnish.

   (g) To purchase any of the bonds of such Authority or legally invest in such bonds any funds
   belonging to or within the control of such county or municipality and exercise all the rights of
   any holder of such bonds.

   (h) To do any and all things necessary or convenient to aid or cooperate in the planning,
   undertaking, construction or operation of any of the plans, projects or facilities of such
   Authority.

   (i) To enter into agreements with such Authority respecting action to be taken by such county
   or municipality pursuant to any of the above powers. (1966, c. 271; 1987, c. 396)

§ 10. The Authority is hereby authorized to issue bonds from time to time in its discretion for the
purpose of paying all or any part of the cost of any project within its service area or for the
purpose of paying or refunding, at or prior to the maturity thereof, any bonds previously issued
by the Authority, the Commonwealth or any agency or political subdivision thereof . The
Authority may issue such types of bonds as it may determine, including (without limiting the
generality of the foregoing) bonds payable as to principal and interest from any one or more of
the following: (a) its revenues generally; (b) the income and revenues of a particular project
(including revenues from the sale of or lease of such project); (c) the income and revenues of
certain designated projects, whether or not they are financed in whole or in part from the
proceeds of such bonds; (d) the proceeds of the sale or lease of any project or projects, whether or
not they are financed from the proceeds of such bonds; (e) funds realized from the enforcement
of security interests or other liens securing such bonds; (f) proceeds from the sale of bonds of the
Authority; (g) payments due under letters of credit, policies of bond purchase agreements or
other credit enhancements securing payment of bonds of the Authority; (h) any reserve or
sinking funds created to secure such payment; or (i) other available funds of the Authority;
however, bonds issued to finance the construction or acquisition of projects that are not
operating projects of the Authority shall not be payable from revenues of the Authority generally
or from any revenues derived from operating projects. "Bonds" as used in this act shall include
bonds, notes, revenue certificates and other evidences of indebtedness.

"Cost" as used in the previous paragraph shall mean costs of construction, acquisition of lands,
structures, rights-of-way, franchises, easements and other property rights and interests; costs of
demolition, removal or relocation of buildings or structures; costs of labor, materials, machinery
and all other kinds of equipment; financing charges; interest on bonds and other borrowing in
connection with a project prior to and during construction thereof and for a period not exceeding
one year after the completion of such construction; costs of engineering, financial and legal
services, plans, specifications, studies, surveys, estimates of costs and of revenues, feasibility
studies, administrative expenses, including administrative expenses during the start-up of any
facility; provisions for working capital to be used in connection with any project; reserve funds
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and other reserves for the payment of principal and interest on bonds; and all other expenses
necessary, desirable or incidental to the construction and acquisition of projects, the financing of
the same or placing of the same in operation.

Any such bonds may be additionally secured by a pledge of any grant or contribution from a
participating political subdivision, the Commonwealth or any political subdivision, agency or
instrumentality thereof, any federal agency or any unit, private corporation, copartnership,
association, or individual, or a pledge of any income or revenues of the Authority, or a mortgage
of or a deed of trust or other lien on or a security .interest in, any particular project or projects or
other property of the Authority.

Neither the members of the Authority nor any person executing any bonds issued under the
provisions of this act shall be liable personally on the bonds by reason of the issuance thereof.
The bonds and other obligations of the Authority (and such bonds and obligations shall so state
on their face) shall not be a debt of the Commonwealth or any political subdivision thereof and
neither the Commonwealth nor any political subdivision thereof other than the Authority shall
be liable thereon, nor shall such bonds or obligations be payable out of any funds or properties
other than those of the Authority. The bonds shall not constitute an indebtedness within the
meaning of any debt limitation or restriction. Bonds of the Authority are declared to be issued for
an essential public and governmental purpose. (1966, c. 271; 1987, c. 396)


§ 11. Bonds of the Authority shall be authorized by resolution and may be issued in one or more
series, shall be dated, shall mature at such time or times not exceeding forty years from their date
or dates and shall bear interest payable at such time or times at such rate or rates, as may be
determined by the Authority, or as may be determined in such manner as the Authority may
provide, including the determination by agents designated by the Authority under guidelines
established by the Authority, and may be made redeemable before maturity, at the option of the
Authority at such price or prices and under such terms and conditions as may be fixed by the
Authority prior to the issuance of the bonds. The Authority shall determine the form of the
bonds, including any interest coupons to be attached thereto, and the manner of execution of the
bonds, and shall fix the denomination or denominations of the bonds and the place or places of
payment of principal and interest, which may be at any bank or trust company within or without
the Commonwealth. In case any officer whose signature or a facsimile of whose signature shall
appear on any bonds or coupons shall cease to be such officer before delivery of such bond, such
signature or such facsimile shall nevertheless be valid and sufficient for all purposes the same as
if he had remained in office until such delivery. Notwithstanding any of the other provisions of
this act or any recitals in any bonds issued under the provisions of this act, all such bonds shall
be deemed to be negotiable instruments under the laws of the Commonwealth. The bonds may be
issued in coupon or registered form or both, as the Authority may determine, and provision may
be made for the registration of any coupon bonds as to principal alone and also as to both
principal and Interest, and for the reconversion into coupon bonds of any bonds registered as to
both principal and Interest. Bonds issued in registered form may be issued under a system of
book-entry for recording the ownership and transfer of ownership of rights to receive payments
of principal of and premium, if any, and interest on such bonds. The Authority may contract for
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the services of one or more banks, trust companies, financial institutions or other entities or
persons, within or outside the Commonwealth, for the authentication, registration, transfer,
exchange and payment of the bonds, or may provide such services itself. The Authority may sell
such bonds in such manner, either at public or private sale, and for such price, as It may
determine to be for the best interests of the Authority.
Prior to the preparation of definitive bonds the Authority may, under like restrictions, issue
interim receipts or temporary bonds, with or without coupons, exchangeable for definitive bonds
when such bonds shall have been executed and are available for delivery. The Authority may also
provide for the replacement of any bonds which shall become mutilated or shall be destroyed or
lost.

Bonds may be issued under the provisions of this act without obtaining the consent of any
commission, board, bureau or agency of the Commonwealth or of any political subdivision, and
without any other proceedings or the happening of other conditions or things than those
proceedings, conditions or things which are specifically required by this act. (1966, c. 271; 1971,
c. 97; 1987, c. 396)

§ 12. In the discretion of the Authority any bonds issued under the provisions of this act may be
secured by a trust indenture by way of conveyance, deed of trust or mortgage of any project or
any other property of the Authority, whether or not financed in whole or in part from the
proceeds of such bonds, or by a trust agreement by and between the Authority and a corporate
trustee, which may be any trust company or bank having the powers of a trust company within or
without the Commonwealth or by both such conveyance, deed of trust or mortgage and
indenture or trust agreement. Such trust indenture or agreement, or the resolution providing for
the issuance of such bonds may pledge or assign fees, rents and other charges to be received.
Such trust indenture or agreement, or resolution providing for the issuance of such bonds, may
contain such provisions for protecting and enforcing the rights and remedies of the bondholders
as may be reasonable and proper and not in violation of law, including covenants providing for
the repossession and sale by the Authority or any trustees under any trust indenture or
agreement of any project, or part thereof, upon any default under the lease or sale of such
project, setting forth the duties of the Authority in relation to the acquisition of property and the
construction, improvement, maintenance, repair, operation and insurance of any project or other
property of the Authority, the amounts of fees, rents and other charges to be charged, the
collection of such fees, rents, and other charges, and the custody, safeguarding and application of
all moneys of the Authority, and conditions or limitations with respect to the issuance of
additional bonds. It shall be lawful for any national bank with its main office in the
Commonwealth or any other state or any bank or trust company incorporated under the laws of
the Commonwealth or another state which may act as depository of the proceeds of such bonds
or of other revenues of the Authority to furnish indemnifying bonds or to pledge such securities
as may be required by the Authority. Such trust indenture or agreement or resolution may set
forth the rights and remedies of the bondholders and of the trustee, and may restrict the
individual right of action by bondholders.

In addition to the foregoing, such trust indenture or agreement or resolution may contain such
other provisions as the Authority may deem reasonable and proper for the security of the
bondholders, including, without limitation, provisions for the assignment to a corporate trustee
or escrow agent of any rights of the Authority in any project owned by, or leases or sales of any
projects made by, the Authority. All expenses incurred in carrying out the provisions of such
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trust indenture or agreement or resolution or other agreements relating to any project, including
those to which the Authority may not be a party, may be treated as a part of the cost of a project.
(1966, c. 271; 1987, c. 396)

§ 13. The Authority is hereby authorized to fix, revise, charge and collect fees, rents and other
charges for the use of any project. Such fees, rents and other charges shall be so fixed and
adjusted as to provide a fund sufficient with other revenues to pay the principal and any interest
on such bonds secured by or otherwise to be paid by such revenues, as the same shall become due
and payable, to create reserves for such purposes and for other purposes of the Authority and to
pay the cost of maintaining, repairing and operating the project. Such fees, rents and charges
shall not be subject to supervision or regulation by any commission, board, bureau or agency of
the Commonwealth or any such participating political subdivision. The fees, rents and other
charges received by the Authority may be applied and set aside from time to time in the order
and in the manner as may be provided in such resolution or trust indenture or agreement
including application to a sinking fund which may be pledged to, and charged with, the payment
of the principal of and the interest on such bonds as the same shall become due, and the
redemption price or the purchase price of such bonds retired by call or purchase as therein
provided. All pledges of such fees, rents and other charges to payment of bonds shall be valid and
binding from the time when the pledge is made. The fees, rents and charges so pledged and
thereafter received by the Authority shall immediately be subject to the lien of such pledge
without any physical delivery thereof or further act, and the lien of any such pledge shall be valid
and binding as against all parties having claims of any kind in tort, contract or otherwise against
the Authority, irrespective of whether such parties have notice thereof. Neither the resolution
nor any trust indenture by which a pledge is created need be filed or recorded except in the
records of the Authority. The use and disposition of moneys to the credit of such sinking fund
shall be subject to the provisions of the resolution authorizing the issuance of such bonds or of
such trust indenture or agreement. Except as may otherwise be provided in such resolution or
such trust indenture or agreement, such sinking fund shall be a fund for all such bonds without
distinction or priority of one over another. (1966, c. 271; 1987, c. 396)

§ 14. All moneys received pursuant to the authority of this act, whether as proceeds from the sale
of bonds or as revenues, shall be deemed to be trust funds to be held and applied solely as
provided in this act. (1966, c. 271)

§ 15. Any holder of bonds, notes, certificates or other evidence of borrowing issued under the
provisions of this act or of any of the coupons appertaining thereto, and the trustee under any
trust indenture or agreement, except to the extent of the rights herein given may be restricted by
such trust indenture or agreement, may, either at law or in equity, by suit, action, injunction,
mandamus or other proceedings, protect and enforce any and all rights under the laws of the
Commonwealth or granted by this act or under such trust indenture or agreement or the
resolution authorizing the issuance of such bonds, notes or certificates, and may enforce and
compel the performance of all duties required by this act or by such trust indenture or agreement
or resolution to be performed by the Authority or by any officer or agent thereof, including the
fixing, charging and collection of fees, rents and other charges. (1966, c. 271)

§ 16. The exercise of the powers granted by this act shall be in all respects for the benefit of the
inhabitants of the Commonwealth, for the promotion of their safety, health, welfare,
convenience and prosperity, and as the operation and maintenance of any project which the
Authority is authorized to undertake will constitute the performance of an essential
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governmental function, no authority shall be required to pay any taxes or assessments upon any
project acquired and constructed by it under the provisions of this act; and the bonds, notes,
certificates or other evidences of debt issued under the provisions of this act, their transfer and
the income therefrom including any profit made on the sale thereof, shall at all times be free and
exempt from taxation by the Commonwealth and by any political subdivision thereof. (1966, c.
271)

§ 17. Bonds issued by the Authority under the provisions of this act are hereby made securities in
which all public officers and public bodies of the Commonwealth and its political subdivisions, all
insurance companies, trust companies, banking associations, investment companies, executors,
administrators, trustees and other fiduciaries may properly and legally invest funds, including
capital in their control or belonging to them. Such bonds are hereby made securities which may
properly and legally be deposited with and received by any State or municipal officer or any
agency or political subdivision of the Commonwealth for any purpose for which the deposit of
bonds or obligation is now or may hereafter be authorized by law. (1966, c. 271)

§ 18. This act shall constitute full and complete authority, without regard to the provisions of any
other law, for the doing of the acts and things herein authorized, and shall be liberally construed
to effect the purposes hereof. The provisions of this act are severable, and if any of its provisions
shall be held unconstitutional by any court of competent jurisdiction, the decision of such court
shall not affect or impair any of the other provisions of this act. (1966, c. 271)




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                                   Exhibit B
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     Neutral
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                                          DuPuy-German v. Perwaiz
                                     Circuit Court of the City of Chesapeake, Virginia
                                                February 3, 2022, Decided
                                                  Case No. CL20-2667

Reporter
109 Va. Cir. 276 *; 2022 Va. Cir. LEXIS 10 **

Brittni DuPuy-German v. Javaid Perwaiz and
                                                                   Torts > Public Entity
Chesapeake Hospital Authority, d/b/a Chesapeake
                                                                   Liability > Immunities > Sovereign Immunity
Regional Medical Center
                                                              HN1[    ] Immunities, Sovereign Immunity
Core Terms
                                                              In a familiar refrain, the Supreme Court of Virginia has
hospital authority, governmental function, sovereign          often stated that the doctrine of sovereign immunity is
immunity, political subdivision, municipal corporation,       alive and well in Virginia.
credentials, argues, entity, immune, hospital privileges

Case Summary                                                       Business & Corporate
                                                                   Compliance > Healthcare > Business Administration
                                                                   & Organization
Overview
                                                                   Healthcare Law > Business Administration &
HOLDINGS: [1]-The court found that the process of
                                                                   Organization
granting credentials and hospital privileges to physicians
was, at the very least, part of the "operation and
                                                                   Business & Corporate
maintenance" of the hospital authority, and therefore the
                                                                   Compliance > Governments > Local Governments
legislative intent of the "Enabling Statute" (1966 Va.
                                                                   Governments > Local Governments
Acts ch. 271) was to deem such activities a
governmental function; [2]-Assuming, without deciding,        HN2[ ] Healthcare, Business Administration &
that the hospital authority was not an arm of the             Organization
Commonwealth entitled to sovereign immunity, the
express language of the statute left no doubt that the        Upon the creation of the Hospital Authority pursuant to
hospital authority had the attributes of a municipal          1966 Va. Acts ch. 271, as amended, the legislature
corporation; [3]-The evaluation of the relevant standards     deemed the Hospital Authority to be a "public body
of practice and a physicians' compliance therewith or         politic and corporate," created for the public purpose "to
departures therefrom involve significant discretion and       provide for the public health, welfare, convenience, and
therefore constitute a governmental function; [4]-The         prosperity of the residents of the City of Chesapeake
hospital authority had not forfeited its immunity.            and such other persons who might be served by the
                                                              Authority and to provide improved medical care and
Outcome                                                       related services to such residents and persons." 1966
The plea of sovereign immunity was sustained, and the         Va. Acts ch. 271, §§ 1, 3. The legislature further dictated
hospital authority was dismissed from this case.              that "the operation and maintenance of any project
                                                              which the Authority is authorized to undertake will
LexisNexis® Headnotes                                         constitute the performance of an essential governmental
                                                              function." 1966 Va. Acts ch. 271, § 16. A "project" is
                                                              defined to include a hospital. 1966 Va. Acts ch. 271, §
                                                              4.



                                                      Ahmed Khalil
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    Governments > Local Governments > Claims By &               Governments > Local Governments > Claims By &
    Against                                                     Against

HN3[   ] Local Governments, Claims By & Against                 Healthcare Law > ... > Actions Against
                                                                Facilities > Defenses > Immunities
In Virginia, municipal corporations are immune from tort
liability when performing governmental functions, but       HN6[ ] Healthcare, Business Administration &
are not immune when exercising proprietary functions.       Organization

                                                            The Chesapeake Hospital Authority was created by the
                                                            Virginia General Assembly directly. In Carter, the Court
    Governments > Local Governments > Claims By &
                                                            begins with the premise that the defendant was a
    Against
                                                            political subdivision created by a locality pursuant to
                                                            statutory authorization. The Court has held that such
    Torts > Public Entity
                                                            entities may be entitled to the status of a municipal
    Liability > Immunities > Sovereign Immunity
                                                            corporation for purposes of immunity from tort liability in
HN4[   ] Local Governments, Claims By & Against             certain circumstances.

The Supreme Court of Virginia has set forth a six factor
test to determine whether an entity is a municipal              Governments > Local Governments > Claims By &
corporation, as follows. (1) Creation as a body corporate       Against
and politic and as a political subdivision of the
Commonwealth; (2) Creation to serve a public purpose;           Healthcare Law > Business Administration &
(3) Power to have a common seal, to sue and be sued,            Organization > Hospital Privileges > Professional
to enter into contracts, to acquire, hold, and dispose of       Review
its revenue, personal and real property; (4) Possession
of the power of eminent domain; (5) Power to borrow         HN7[   ] Local Governments, Claims By & Against
money and issue bonds which are tax exempt, with
interest on such bonds enjoying the same status under       A proprietary function is a ministerial act and involves no
tax laws as the interest on bonds of other political        discretion, such as those functions that comprise the
subdivisions of the state; (6) Management of the            routine maintenance or operation of a municipal service.
corporation vested in a board of directors or a             A governmental function, on the other hand, entails the
commission. The existence of sovereign immunity is a        exercise of an entity's political, discretionary, or
question of law.                                            legislative authority. The granting of credentials and
                                                            hospital privileges involves a great deal of discretion.


    Governments > Local Governments > Claims By &
    Against                                                     Business & Corporate Compliance > Healthcare
                                                                Healthcare Law
HN5[   ] Local Governments, Claims By & Against
                                                                Governments > Local Governments > Claims By &
Neither the Commonwealth nor any political subdivision          Against
thereof other than the Authority shall be liable thereon.
1966 Va. Acts, ch. 271, § 1.                                HN8[ ]     Business      &    Corporate      Compliance,
                                                            Healthcare

                                                            The evaluation of the relevant standards of practice and
    Business & Corporate
                                                            a physicians' compliance therewith or departures
    Compliance > Healthcare > Business Administration
                                                            therefrom involve significant discretion and therefore
    & Organization
                                                            constitute a governmental function.
    Healthcare Law > Business Administration &
    Organization
                                                            Headnotes/Summary

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                                                              Virginia General Assembly. The Plaintiff asks the Court
                                                              to circumvent [*277] precedent and circumscribe the
Headnotes
                                                              legislature to deprive the Hospital Authority of immunity,
In this case, the defendant hospital was given                which it is without authority to do.
governmental immunity from suit by a legislative act.         I. Is the Hospital Authority a Municipal Corporation

Judges: [**1] MARJORIE A. TAYLOR ARRINGTON,                   HN2[ ] Upon the creation of the Hospital Authority
JUDGE.                                                        pursuant to 1966 Acts of Assembly, chapter 271, as
                                                              amended, which the parties have referred to as the
Opinion by: MARJORIE A. TAYLOR ARRINGTON                      "Enabling Statute," the legislature deemed the Hospital
                                                              Authority to be a "public body politic and corporate,"
Opinion                                                       created for the public purpose "to provide for the public
                                                              health, welfare, convenience, and prosperity of the
                                                              residents of the City of Chesapeake and such other
                                                              persons who might be served by the Authority and to
[*276] BY        JUDGE      MARJORIE        A.   TAYLOR
                                                              provide improved medical care and related services to
ARRINGTON
                                                              such residents and persons." Id. at §§ 1, 3. The
This case was before the Court on January 19, 2022, to        legislature further dictated that "the operation [**3] and
hear oral argument on the Plea of Sovereign Immunity          maintenance of any project which the Authority is
filed by the Defendant, Chesapeake Hospital Authority,        authorized to undertake will constitute the performance
d/b/a Chesapeake Regional Medical Center ("the                of an essential governmental function." Id. at § 16. A
Hospital Authority"). The Court has considered the briefs     "project" is defined to include a hospital. Id. at § 4.
in support, opposition, and reply, as well as the
                                                              The Court finds that the process of granting credentials
arguments of counsel.
                                                              and hospital privileges to physicians is, at the very least,
The allegations of this case are set forth in DuPuy-          part of the "operation and maintenance" of the Hospital
German v. Perwaiz, 106 Va. Cir. 279, 107 Va. Cir. 358,        Authority, and therefore the legislative intent of the
and 108 Va. Cir.       (Chesapeake City 2020-2021), in        Enabling Statute was to deem such activities a
which this Court found that the Complaint filed by            governmental function. Id. at 16. The Plaintiff, however,
Plaintiff, Brittni Dupuy-German, stated a claim against       argues that the legislature does not have authority to
the Hospital Authority for negligence both vicariously, as    dictate what activities constitute governmental functions,
the employer of surgeon Javaid Perwaiz, M.D., and             and therefore it is necessary for this Court to not only
directly for breach of the Hospital's duty to exercise        revisit that inquiry, but also to determine whether the
reasonable care in granting and reviewing the surgeon's       Hospital Authority is a municipal corporation entitled to
credentials and hospital privileges. After having             sovereign immunity for any function at all.
extensively briefed and argued its rather novel and
                                                              HN3[ ] In Virginia, "[m]unicipal corporations are
complex demurrer, necessitating a ruling by the Court,
                                                              immune from tort liability when performing governmental
the Hospital now brings this relatively simple and
                                                              functions, but are not immune when exercising
straightforward Plea of Sovereign Immunity. The Court
                                                              proprietary functions." Carter v. Chesterfield County
finds that the plea is dispositive, and dismisses the
                                                              Health Comm'n, 259 Va. 588, 590, 527 S.E.2d 783, 785
Hospital Authority [**2] from the case for the reasons
                                                              (2000) (citing City of Richmond v. Long's Adm'rs, 58 Va.
that follow.
                                                              (17 Gratt.) 375, 379 (1867), rev'd on other grounds, First
HN1[ ] In a familiar refrain, the Supreme Court of            Va. Bank-Colonial v. Baker, 225 Va. 72, 301 S.E.2d 8
Virginia has often stated that "[t]he doctrine of sovereign   (1983)). Assuming, without deciding, that the Hospital
immunity is 'alive and well' in Virginia." City of            Authority is not an arm of the Commonwealth entitled to
Chesapeake v. Cunningham, 268 Va. 624, 633, 604               sovereign immunity, [**4] the express language of the
S.E.2d 420, 426 (2004) (citing Niese v. City of               statute leaves no doubt that the Hospital Authority has
Alexandria, 264 Va. 230, 238, 564 S.E.2d 127, 132             the attributes of a municipal corporation. HN4[ ] The
(2002) (quoting Messina v. Burden, 228 Va. 301, 307,          Supreme Court of Virginia has set forth a six factor test
321 S.E.2d 657, 660 (1984))). In this case, sovereign         to determine whether an entity is a municipal
immunity is conferred on the Hospital Authority not only      corporation, as follows:
according to the common law, but by an Act of the

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(1) Creation as a body corporate and politic and as a          not create the Hospital Authority to serve a public
political subdivision of the Commonwealth;                     purpose because it failed to identify a public [**6] need
                                                               for a hospital. The Hospital Authorities Act, Va. Code §
(2) Creation to serve a public purpose;                        15.2-5300, et seq. (the "HAA") enables a locality to
                                                               create a hospital authority, but requires that it declare
 [*278] (3) Power to have a common seal, to sue and
                                                               "that there is need for an authority to function in the
be sued, to enter into contracts, to acquire, hold, and
                                                               city." Unlike those authorities created by a locality
dispose of its revenue, personal and real property;
                                                               pursuant to the HAA, such [*279] as the authority in
(4) Possession of the power of eminent domain;                 Carter v. County Health Comm'n, 259 Va. 588, 527
                                                               S.E.2d 783 (2000), HN6[ ] the Chesapeake Hospital
(5) Power to borrow money and issue bonds which are            Authority was created by the Virginia General Assembly
tax exempt, with interest on such bonds enjoying the           directly. In Carter, the Court begins with the premise
same status under tax laws as the interest on bonds of         that the defendant was "a political subdivision created
other political subdivisions of the state;                     by a locality pursuant to statutory authorization. We
                                                               have held that such entities may be entitled to the status
(6) Management of the corporation vested in a board of         of a municipal corporation for purposes of immunity from
directors or a commission. Richmond v. Richmond                tort liability in certain circumstances." Carter, 259 Va. at
Metro. Auth., 210 Va. 645, 647, 172 S.E.2d 831, 832            590, 527 S.E.2d at 784-85. In that case, the parties
(1970). "The existence of sovereign immunity is a              agreed that the defendant was a municipal corporation
question of law." Cunningham, 268 Va. at 633, 604              and there was no analysis of this issue. Plaintiff cites no
S.E.2d at 426. In its prior opinion, Dupuy-German v.           constitutional or other authority which would limit the
Perwaiz, 108 Va. Cir. 183 (June 8, 2021), this Court           legislative power in the same way that the HAA limits a
noted that the Richmond Metropolitan Court                     locality. The Enabling Statute clearly states the public
"determined whether an entity was a municipal                  purpose for the Hospital Authority, as noted above.
corporation based solely on the legislation creating that
                                                               II. Is the Act of Granting Credentials and Hospital
entity," and that "the Enabling Statute expressly confers
                                                               Privileges a Governmental Function?
all six of the characteristics [**5] enumerated in
Richmond Metropolitan Authority." Id. at .
                                                               Plaintiff argues that the activities at issue in this case
The arguments that the Plaintiff advances in support of        are, at best, part of [**7] the operation and
this plea have not persuaded the Court otherwise.              maintenance of a municipal service, and that the Court
Regarding the first factor in the Richmond Metropolitan        should disregard the Enabling Statute's language
rule, Plaintiff argues that the Enabling Statute does not      deeming "operation and maintenance" a governmental
create a political subdivision of the Commonwealth             function and rule that they are a proprietary function
because section 1 thereof employs only the term "body          instead. In Virginia Electric & Power Co. v. Hampton
politic and corporate," and not "political subdivision." In    Redevelopment & Housing Auth., 217 Va. 30, 225
County of York v. Peninsula Airport Comm'n, 235 Va.            S.E.2d 364 (1976), the Supreme Court of Virginia held
477, 369 S.E.2d 665, 4 Va. Law Rep. 2976 (1988), the           that:
Supreme Court of Virginia addressed the same issue,                  [t]o the extent, however, that the statutory language
holding that, while the statute creating an airport                  in question might constitute a legislative declaration
authority did not expressly state that the authority was a           that, for tort immunity purposes, the activities of a
"political subdivision," it did state that "neither the              housing authority are governmental functions, the
Commonwealth nor any political subdivision thereof                   declaration is not conclusive; the courts are not
other than the commission shall be liable" on its bonds              thereby precluded from looking behind the
and obligations. Id. at 481, 369 S.E.2d at 667 (emphasis             declaration to ascertain the true nature of the
in original) (quoting 1946 Va. Acts, ch. 22, § 8). HN5[ ]            functions.
Likewise, the Enabling Statute states that "neither the
                                                               Id. at 35, 225 S.E.2d at 368. HN7[ ] A proprietary
Commonwealth nor any political subdivision thereof
                                                               function is a "ministerial act and involves no discretion,"
other than the Authority shall be liable thereon. . . ."
                                                               such as those functions that comprise the "routine
1966 Va. Acts, ch. 271, § 1 (emphasis added).
                                                               maintenance or operation of a municipal service."
                                                               Cunningham, 268 Va. at 634, 604 S.E.2d at 426, 427. A
Regarding the second factor in the Richmond
                                                               governmental function, on the other hand, "entails the
Metropolitan rule, Plaintiff argues that the legislature did

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exercise of an entity's political, discretionary, or            extending sovereign immunity to public hospitals
legislative authority." Id. at 634, 604 S.E.2d at 426. The      exercising a governmental function because the
granting of credentials and hospital privileges involves a      Hospital Authority is an entire "healthcare system." It
great deal of discretion. Plaintiff's own allegations           argues that its extensive [**10] profits and commercial
implicate a failure of that discretion by pleading that the     enterprise make all of the Hospital Authority's acts
Hospital Authority "either never evaluated the                  proprietary, and this Court should consider a "sea
appropriateness [**8] of Dr. Perwaiz's care, including          change" in the law governing sovereign immunity in the
his significant departures from generally accepted              healthcare industry. The Court disagrees, and declines
standards of practice, or it failed to conduct a                the invitation to make new law on this question, which
reasonable and prudent evaluation of Dr. Perwaiz's              may be more appropriately addressed on appeal.
departures from generally accepted standards of
practice and his ability and/or willingness to comply with      For the foregoing reasons, the Plea of Sovereign
generally accepted standards of practice." Complaint at         Immunity is sustained, and Chesapeake Hospital
para. 62. HN8[ ] The evaluation of the relevant                 Authority is dismissed from this case.
standards [*280] of practice and a physicians'
compliance therewith or departures therefrom involve
                                                                  End of Document
significant discretion and therefore constitute a
governmental function.

In a related argument, Plaintiff asserts that, because the
Enabling Statute does not expressly confer the power to
grant credentials and hospital privileges, the Hospital
Authority is not performing a governmental function
when doing so. Plaintiff compares the Enabling Statute
to the HAA, which expressly grants hospital authorities
created thereunder the "power to determine and
regulate the conditions under which the privilege of
practicing within any hospital operated by the authority
may be available to physicians." Va. Code § 15.2-5332.
While the Enabling Statute does not contain similar
language, the power to grant and revoke physicians'
privileges is essential [**9] and indispensable to safely
running a hospital. Indeed, the Plaintiff herself has
alleged as much in asserting that the Hospital Authority
has an affirmative "non-delegable duty to perform
corporate and administrative functions, such as
credentialing and privileging, in accordance with the
standards of practice among similar health care
providers." (Complaint at para. 11.)
III. Has the Hospital Authority Forfeited Its Immunity?

Plaintiff also argues that the Hospital forfeited sovereign
immunity in general because it operates locations
outside of Virginia, which the Enabling Statute does not
authorize it to do. However, even assuming the
operation of other locations was not a governmental
function, this case does not arise out of any action by
the Hospital Authority at those locations. Plaintiff cites
no cases holding that, when an immune entity exceeds
its authority or territorial limits by some acts, it forfeits
sovereign immunity for all other acts.

Finally, Plaintiff asks this Court to distinguish precedent

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                                   Exhibit C
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       VIRGINIA:        IN THE CIRCUIT COURT OF THE CITY OF CHESAPEAKE

       MARJA FERNANDEZ-BECERRA,
                                Plaintiff,

       v.                                                       Case No.CL20-5901

       JAVAID A. PERWAIZ, M.D., et al.,

                               Defendants


                                                       ORDER
                 This matter came before the Court on Defendant Chesapeake Hospital Authority d/b/a

       Chesapeake Regional Medical Center ("Defendant CHA")'s Plea of Sovereign Immunity. The

       parties filed briefs in support of the written Plea and in opposition and reply thereto, and the Court

       heard argument on September 15, 2021.

                 Wherefore, upon consideration of the written Plea, the memorafjd_a•.df.law. .fn su·pport and
                                                                                  . :. '.. . :
       in opposition thereto, the arguments of counsel in open court, and all relevant authority, it is

       hereby:

                 ORDERED that Defendant CHA's Plea in Bar of Sovereign Immunity is hereby

       SUSTAINED AND GRANTED for the reasons stated on the record in open Court. This action is

       therefore DISMISSED WITH PREJUDICE as to Defendant CHA only, arid will proceed against

       the remaining defendants.



                                                                7 tHday ofec.
                                                                            ...�12-
                 IT IS SO ORDERED.

                                                 Entered this             s.,t11111h••• 2021




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                                   COMMONWEALTH OF VIRGINIA

   EDWARD W. HANSON, JR.
    A. BONWILL SHOCKLEY                                                                                        CIRCUIT COURT
   1L THOMAS rADRIOK, JR.                                                                                  CITY OF VIRGINIA BEACH
      STEPHEN C. MAHAN                                                                                    JUDICIAL CENTER. BLDG. 10
      WlLLIAM R. O'BRIEN                                                                                    2425 NIMMO PARKWAY
        LESLIE L. LlLLEY                                                                                VlROINlA BEACH, VA 23456-9017
      GLENN R. CROSHAW                                                                                          (757) 385-4501
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                                           SECOND .ruDICIAL CIRCUIT
                                                           Direct Dlal # 385-8680


                                                             July 18, 2.014


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           Dear Counsel:

                  The parties came before the court on June 10, 2014 on Defendant Chesapeake
           Hospital Authority's- Plea in Bar and Defendant Andrew McWhorters Demurrer. All
           actions regarding Defendant Tiffany Sturtsman have been stayed. After the hearing,
           Plaintiff �ubmitted a �rie!, wh:ch the �ourt raooived Qr. J:me 12 1 2014 and Defendant
           Chesapeake HospitgJ Authority submitted a brief which the court received on June 17,
           2014. The court has considered the·arguments.af counsel and the parties' briefs and
           finds as follows.         •
                  This action arises from statements about Lizbeth Holdstein (Plaintlff) made by
           defendant Andrew McWl'\orter (McWhorter) and defendant Tiffany Sturtsman
           (Sturtsman) to.defer.aantChe.sa-peake Ho�pital Autho_rity (CHA), as well as statements
           �bout Plaintiff·imibtil>fCff;d. �6 ·tne Vfrgirira--Dep�rmietrt cir f:tealih�r&lessfons. (DHP).
            • •••. ·Ttiis'mattehvas heard by Judge Mahan on June 11, 20·13 on Defendants·
           �efnu�iers to_ th� Initial complaint and on CHA's plea in bar for sovereign immunity. On



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           BARBARA JAMBS,


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                                    Hughes v. Lake Taylor City Hosp.
                                        Circuit Court of the City of Norfolk, Virginia
                                                December 13, 2000, Decided
                                                   Case No. CL99-1677

Reporter
54 Va. Cir. 239 *; 2000 Va. Cir. LEXIS 585 **
                                                                treatment to patients, and the state's interest in patient
Hughes, administrator of the estate of Lori Hughes,
                                                                care was the same whether the patient was treated in a
deceased v. Lake Taylor City Hospital, a/k/a Hospital
                                                                public hospital or a private institution. The state's control
Authority of Norfolk, t/a Lake Taylor Hospital, et al.
                                                                over the employees was slight. The employees' exercise
                                                                of a level of discretion in their jobs did not control
Disposition: Motion and special plea of sovereign
                                                                whether they were entitled to sovereign immunity.
immunity sustained in part as to hospital and overruled
in part as to employees as individuals.
                                                                Outcome
                                                                The hospital authority was entitled to sovereign
Core Terms                                                      immunity, and the nurses and therapist were not entitled
                                                                to sovereign immunity.
patient, immunity, entitled to immunity, hospital
authority, sovereign immunity, simple negligence,
performing, individual defendant, allegations, nurses,
                                                                LexisNexis® Headnotes
governmental function, municipal corporation, attending
physician, nursing home, patient care, involvement,
respiratory, employees, therapist, factors, slight, weighs

Case Summary                                                        Governments > State & Territorial
                                                                    Governments > Claims By & Against

Procedural Posture                                                  Healthcare Law > ... > Actions Against
Plaintiff decedent's estate sued defendants, a hospital             Facilities > Governmental & Nonprofit
authority and four employees, for decedent's wrongful               Liability > County, Municipal & State Liability
death. The hospital authority and the employees filed a
motion and special plea of sovereign immunity.                  HN1[ ] State & Territorial Governments, Claims By
                                                                & Against
Overview
The decedent died while a patient at the hospital               A hospital, if it is considered to be an organ of the state,
authority's nursing home. The hospital authority was (1)        is immune from actions in tort.
created as a body corporate and politic and as a political
subdivision of the commonwealth; (2) created to serve a
public purpose; (3) given the power to have a common
seal, to sue and be sued, to enter into contracts, to               Real Property Law > Eminent Domain
acquire, hold and dispose of its revenue, personal and              Proceedings > Elements > Public Use
real property; (4) given the power of eminent domain;
(5) given the power to borrow money and issue tax                   Tax Law > State & Local Taxes > Real Property
exempt bonds; and (6) managed by a board of directors               Taxes > Exemptions
or commission. The authority's provision of health care
                                                                    Torts > Public Entity
services to those in need served an important
                                                                    Liability > Immunities > Sovereign Immunity
governmental function. The primary function of the
nurses and therapist was to give proper care and

                                                       Ahmed Khalil
  Case
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    Governments > Local Governments > Claims By &            for any acts of simple negligence. If the employee does
    Against                                                  not meet the four factors, the employee can and will be
                                                             held liable for acts of simple negligence. A state
    Healthcare Law > ... > Actions Against                   employee may be liable for his conduct while performing
    Facilities > Governmental & Nonprofit                    work for the state if his conduct is wrongful or the
    Liability > County, Municipal & State Liability          performance is so negligent as to take him outside the
                                                             protection of his employment.
    Real Property Law > Eminent Domain
    Proceedings > Constitutional Limits &
    Rights > General Overview
                                                                 Governments > State & Territorial
HN2[   ] Elements, Public Use                                    Governments > Claims By & Against

A hospital authority, even though a local government             Torts > Public Entity
subdivision, is considered a municipal corporation and           Liability > Immunities > Sovereign Immunity
enjoys tort immunity if it possesses six distinct criteria
                                                                 Governments > State & Territorial
and performs a governmental function. Those six criteria
                                                                 Governments > Employees & Officials
are the following: (a) creation as a body corporate and
politic and as a political subdivision of the
                                                                 Torts > Public Entity
Commonwealth; (b) created to serve a public purpose;
                                                                 Liability > Immunities > General Overview
(c) power to have a common seal, to sue and be sued,
to enter into contracts, to acquire, hold and dispose of
                                                             HN4[ ] State & Territorial Governments, Claims By
its revenue, personal and real property; (d) possession
                                                             & Against
of the power of eminent domain; (e) power to borrow
money and issue bonds which are tax exempt; (f)              If the function that a government employee was
management of the corporation vested in a board of           negligently performing was essential to a governmental
directors or a commission.                                   objective and the government had a great interest in
                                                             that function, this weighs heavily in favor of granting
                                                             immunity to the employee. If the employee's function
    Governments > State & Territorial                        has only a marginal influence upon a governmental
    Governments > Claims By & Against                        objective, and the government's interest is slight, this
                                                             weighs against granting immunity. Moreover, if broad
    Torts > Public Entity Liability > Liability > General    discretion on the part of the employee is exercised this
    Overview                                                 also weighs heavily in favor of immunity. A high level of
                                                             control and direction by the government also weighs in
    Governments > State & Territorial                        favor of immunity. When a government employee is
    Governments > Employees & Officials                      specially trained to make certain discretionary decisions,
                                                             the control exercised by the government must be
    Torts > Public Entity Liability > General Overview       necessarily limited in order to make the best use of that
                                                             person's special skill and judgment.
HN3[ ] State & Territorial Governments, Claims By
& Against

There is a four-part test to determine whether a given           Governments > State & Territorial
employee is entitled to immunity for acts of simple              Governments > Claims By & Against
negligence. The four factors to be considered are: (1)
the nature of the function performed by the employee;            Healthcare Law > Healthcare Litigation > Actions
(2) the extent of the state's interest and involvement in        Against Healthcare Workers > General Overview
the function; (3) the degree of control and direction
                                                             HN5[ ] State & Territorial Governments, Claims By
exercised by the state over the employee; and (4)
                                                             & Against
whether the act complained of involved the use of
judgment and discretion. If an employee meets the four
                                                             The state's interest as to a patient's care is the same
factors of this test, the employee cannot be held liable

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whether that patient is treated at a public hospital or a     Immunity with respect to the hospital as an entity and
private institution.                                          with respect to the individually named employee
                                                              defendants. This is an action for wrongful death against
                                                              the defendants. Three of the individual defendants are
                                                              registered nurses, and the fourth individual defendant is
    Governments > State & Territorial
                                                              a respiratory therapist. The Amended Motion for
    Governments > Claims By & Against
                                                              Judgment contains two counts: Count I alleges gross
    Healthcare Law > Medical Treatment > End-of-Life          negligence as to all defendants, and Count II alleges
    Decisions > Do-Not-Resuscitate Orders                     simple negligence as to all defendants.

                                                              Lake Taylor Hospital Authority operates a nursing home.
    Governments > State & Territorial
                                                              Plaintiff is the administrator of the estate of her
    Governments > Employees & Officials
                                                              daughter, Lori Hughes. Lori had cerebral palsy and
                                                              mental retardation. Her mother admitted Lori to Lake
HN6[ ] State & Territorial Governments, Claims By
                                                              Taylor Hospital for respite care for the weekend of
& Against
                                                              March 12, 1999. Upon admission Lori was noted to be
In determining whether an act performed by an                 awake, alert, with a regular heart rate, among
employee involved the use of judgment and discretion,         other [*240] things. Dr. Angela Mercer accepted Lori
in determining whether the employee is entitled to            Hughes as her patient and thereafter ordered certain
immunity, it is the judgment and discretion used to           care and treatment for Lori to be administered by the
perform the particular act in question, not the judgment      health care providers at Lake Taylor. On March 13,
and discretion used to perform the job generally which is     1999, at [**2] approximately 11:00 p.m., Lori was found
relevant. A high level of discretion weighs in favor of       to be bluish in color and not breathing normally. Around
immunity. Further, it is important to recognize that many     1:00 a.m. on March 14th, a few hours later, Lori was
acts involve discretion or judgment but that factor alone     clammy and cool to the touch, pale, had rapid breathing
cannot be determinative of immunity.                          and oxygen saturations at about 82%. On March 14,
                                                              1999, Lori Hughes went into cardiac arrest and was
                                                              administered CPR but ultimately expired.
Headnotes/Summary
                                                              Plaintiff essentially claims that defendants failed to
                                                              properly recognize and treat the serious condition of her
Headnotes                                                     daughter, Lori Hughes. Plaintiff asserts that defendants
                                                              failed to promptly notify her doctor of her condition,
HEADNOTE: A hospital, if it is considered to be an
                                                              failed to recognize Lori as "full code" status instead of
organ of the state, is immune from actions in tort.
                                                              "Do Not Resuscitate" status, failed to timely transport
                                                              Lori to an emergency care facility after being ordered to
The operation of a nursing home is a governmental
                                                              do so by her doctor, and left her uncared for and
function rather than a proprietary one for the purposes
                                                              unattended despite her ongoing distress. Defendants
of governmental immunity.
                                                              assert that Lake Taylor Hospital is immune from liability
                                                              in tort based upon the principle that the hospital is a
In this case, the individual defendants, nurses and a
                                                              municipal corporation, an organ of the state, and
therapist, were not entitled to immunity for acts of simple
                                                              therefore entitled to immunity. Defendants also contend
negligence.
                                                              that the individual defendants, three nurses and a
Judges: [**1] BY JUDGE JOHN C. MORRISON, JR.                  respiratory therapist, are entitled to immunity for simple
                                                              negligence in the treatment [**3] of Lori Hughes.
Opinion by: Morrison                                          Plaintiffs also assert gross negligence against these
                                                              individual defendants, which will be addressed later in
                                                              this opinion.
Opinion
                                                              I. Sovereign or Governmental Immunity of Lake Taylor
                                                              Hospital Authority
[*239] This matter comes before the Court on
Defendants' Motion and Special Plea of Sovereign              HN1[   ] A hospital, if it is considered to be an organ of


                                                     Ahmed Khalil
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the state, is immune from actions in tort. Lawhorne v.       the nursing services were necessary to protect the
Harlan, 214 Va. 405, 200 S.E.2d 569 (1973). HN2[ ] A         public welfare. Id. Therefore the Court reasoned that, by
"hospital authority," even though a local government         enacting the resolution creating the Commission, the
subdivision, is considered a municipal corporation and       local government was exercising its police power. Id.
enjoys tort immunity if it possesses six distinct criteria   The Court concluded by saying that "the provision of
and performs a "governmental" function. Richmond v.          nursing services by the Commission was not a
Metropolitan Authority, 210 Va. 645, 172 S.E.2d 831          ministerial act of a proprietary nature but an exercise of
(1970). Those six criteria are the following: (a) creation   the County's police power for the common good and,
as a body corporate and politic and as a political           thus, was governmental in nature" and entitled to
subdivision of the Commonwealth; (b) created to serve        immunity. 527 S.E.2d at 787.
a public purpose; (c) power to have a common seal, to
sue and be sued, to enter into contracts, to acquire, hold   In this case, the Court holds that Lake Taylor Hospital
and dispose of its revenue, personal and real property;      Authority is performing a governmental function and is
(d) possession of the power of eminent domain; (e)           entitled to immunity. [**6] The nursing home was
power to borrow money and issue bonds which are tax          created to serve the public by providing important health
exempt; (f) management of the corporation vested in a        care services to those in need, particularly long-term
board of directors or a commission.             Richmond     health care services to the citizens of Norfolk. The
Metropolitan, 210 Va. 645, 172 S.E.2d 831. [**4]             Authority is a political subdivision ( Virginia Code § 15.1-
                                                             1535) and serves an important governmental function
In the case at bar, Lake Taylor City Hospital was            involving patient care. See generally Lawhorne v.
created by Resolution No. 466 pursuant to Virginia           Harlan, 214 Va. 405, 200 S.E.2d 569 (1973) (affirming
Code § 15.1-1535 et seq. on May 24, 1988. Its [*241]         the trial court's dismissal of a claim against the
name was later changed to the Hospital Authority of          University of Virginia hospital, its employees,
Norfolk. The assets of Lake Taylor Hospital and              administrators, and a surgical intern); Holloman v.
operation and control of the hospital were transferred by    Chesapeake Hospital Authority, Record No. 840237,
the City to the Hospital Authority of Norfolk in July of     Nov. 16, 1983 (finding that the hospital authority was a
1988. Lake Taylor Hospital Authority is in fact a            governmental entity immune from suit); Turner v.
municipal corporation. It meets the six criteria stated      DePaul Hospital, et al., Record No. 89-2352, Circuit
above. Plaintiff's counsel does not contest the fact that    Court for the City of [*242] Norfolk, Nov. 7, 1990
Lake Taylor Hospital is a municipal corporation. See         (dismissing claim against Medical College of Hampton
Plaintiff's Response to Defendants' Plea of Sovereign        Roads because of sovereign immunity).
Immunity at 6. Plaintiff does, however, dispute any
                                                             I. Immunity of the Individual Hospital Employees as It
conclusion that Lake Taylor was performing a
                                                             Applies to the Allegations of Simple Negligence
governmental function. As stated above, if the municipal
corporation is performing a governmental function(s),
                                                             Defendants assert that sovereign or governmental
then sovereign immunity applies in favor of the hospital.    immunity applies equally to the individual employees in
Carter v. Chesterfield County Health Comm'n, 259 Va.
                                                             this case, as they are agents or employees of the
588, 527 S.E.2d 783 (2000).
                                                             Commonwealth.
The Supreme Court in Carter, held that the Chesterfield
                                                              [**7] In James v. Jane, the Virginia Supreme Court
County Health Commission's operation of a nursing
                                                             articulated HN3[ ] a four-part test to determine whether
home was a "governmental" function rather than               a given employee is entitled to immunity for acts of
"proprietary" [**5] for immunity purposes. 527 S.E.2d        simple negligence. 221 Va. 43, 282 S.E.2d 864 (1980).
783. The administrator of the decedent's estate brought      The four factors to be considered are: (1) the nature of
a negligence action against the Health Commission            the function performed by the employee; (2) the extent
alleging that the Commission failed to properly and          of the state's interest and involvement in the function;
adequately treat the resident. The Court discussed the       (3) the degree of control and direction exercised by the
difficulty of determining whether something is               state over the employee; and (4) whether the act
proprietary or governmental. In finding that the nursing     complained of involved the use of judgment and
home was performing a governmental function, the             discretion. Id. If an employee meets the four factors of
Court reasoned that, prior to creating the Commission at     this test, the employee cannot be held liable for any acts
issue in Carter, the county was required to find that        of simple negligence. If the employee does not meet the
there was a public need for the Commission and that

                                                    Ahmed Khalil
  Case
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four factors, the employee can and will be held liable for     University makes possible the arrangement, the
acts of simple negligence. The Court also recognized           relationship becomes one of doctor and patient, not the
that a state employee may be liable for his conduct            Commonwealth of Virginia and patient." Id. Similarly in
while performing work for the state if his conduct is          Lee v. Bourgeois, the Virginia Supreme [**10] Court
wrongful or the performance is "so negligent as to take        held that a patient's attending physician, who was a full-
him outside the protection of his employment." Id.; see        time faculty member at university hospital, was not
also Messina v. Burden, 228 Va. 301, 321 S.E.2d 657            entitled to sovereign immunity. 252 Va. 328, 477 S.E.2d
(1984).                                                        495 (1996). The Court reasoned that the physician's
                                                               function and role as the attending physician was to
HN4[ ] If the function that a government employee was          ensure proper treatment of his patients and that his acts
negligently     performing    was     essential    to   a      regarding patient care were within his professional
governmental [**8] objective and the government had a          judgment and were not subject to control by the
great interest in that function, this weighs heavily in        Commonwealth. Id. at 335. Therefore the physician did
favor of granting immunity. Lohr v. Larsen, 246 Va. 81,        not meet the four part James test. Id.
431 S.E.2d 642 (1993). If the employee's function has
only a marginal influence upon a governmental                  In Lohr v. Larsen, the Supreme Court distinguished Dr.
objective, and the government's interest is slight, this       Larsen and his functions from the three physicians at
weighs against granting immunity. Id. Moreover, if broad       issue in James. The Court stated that Dr. Larsen's
discretion on the part of the employee is exercised this       exercise of substantial discretion, while similar to that
also weighs heavily in favor of immunity. Id. at 87. A         exercised by the James physicians, was different
high level of control and direction by the government          because Dr. Larsen used that discretion as an integral
also weighs in favor of immunity. Id. at 88. When a            part of the Commonwealth's health care program.
government employee is specially trained to make               Further, Dr. Larsen was completely controlled by the
certain discretionary decisions, the control exercised by      Commonwealth in that he could not deny any patients
the government must be necessarily limited in order to         treatment. Lohr, 246 Va. 81, 431 S.E.2d 642. The
make the best use of that person's special skill and           Commonwealth's interest and involvement in the
judgment. Id. In Lohr, the Court held that a state-            doctor's function to provide quality medical care in
employed physician was entitled to sovereign immunity,         certain areas [**11] for the citizens of this State who
whereas, in James, the Court held that the three               are economically unable to get care in the private sector
physician defendants employed by the University of             was extremely great. Id. Similarly in Gargiulo v. Ohar,
Virginia's Medical School were not entitled to immunity.       the Court held that a board-certified physician employed
Lohr, 246 Va. 81, 431 S.E.2d 642; James, 221 Va. 43,           by a state hospital was entitled to immunity. 239 Va.
282 S.E.2d 864.                                                209, 387 S.E.2d 787 (1990). In discussing the nature of
                                                               the employee's function, the Court concluded that the
 [*243] [**9] One of the missing yet crucial elements in       alleged negligent acts were performed by an employee
the James case for purposes of immunity was the                as a student involved in a medical research program
second prong of the test, the extent of the state's            instead of a caregiver. Id. Therefore, this function was
interest and involvement in the function performed by          "essential to achievement of the Commonwealth's
the employees. The Court noted that the                        goal… of [*244] training and maintaining a pool of
Commonwealth's interest and involvement in the                 specialists skilled in a particular discipline." Id. at 213.
treatment of a specific patient by a physician at
University Hospital was slight. James, 221 Va. at 54. In       In the present case, there are three registered nurses
fact the Court stated that the Commonwealth's interest         and a respiratory therapist at issue. Their primary
was that the University operate a good medical school          function is to give proper care and treatment to the
staffed    with   competent       professors.    Id.    The    patients who are admitted to the nursing home. They
Commonwealth's interest as to a patient's care was the         are not involved in any type of professional state-
same whether that patient was being treated in a public        sponsored research program as the doctor was in
teaching hospital or a private medical institution. Id. at     Gargiulo, 239 Va. 209, 387 S.E.2d 787. They are not
54-55. Further, the control exercised by the                   students or interns trying to pursue further training. They
Commonwealth over the physicians in the treatment of           are not primarily engaged in teaching [**12] nor is their
the patient was also slight. Id. The Court felt that, at the   primary function to perform administrative type work for
point when the physician agrees to treat or operate on a       the state as in Benjamin v. University Internal Medicine
certain patient, "although his employment by the               Foundation, 254 Va. 400, 492 S.E.2d 651 (1997)

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(holding that the medical director of the episode care          to the protection afforded by sovereign immunity. The
clinic was primarily engaged in administrative duties and       individual defendants do not meet the four-part test set
was not performing the duties of an attending physician         out in James. They are not entitled to immunity and are
and was therefore entitled to immunity).                        therefore liable for any acts of simple negligence. In light
                                                                of the foregoing, the Court does not reach the issue of
Taking into consideration the four factors articulated in       whether there are sufficient allegations to state a claim
James, the Court holds that the defendant nurses and            for gross negligence. However, even if gross negligence
respiratory therapist are not entitled to immunity for acts     has occurred in this case, the Court finds that punitive
of simple negligence. The first factor in James looks at        damages are not proper in this case. In any event, the
the nature of the primary function of the particular            proffered evidence herein does not provide a basis for
employee. In the case at bar, the primary function of all       the malicious and [**15] intentional actions necessary
individual defendants is to give proper care and                to support such an award.
treatment to patients. The next factor is the state's
interest or involvement in that function. It has been
stated that the state's interest in "patient care" is slight.     End of Document
James, 221 Va. 43, 54, 282 S.E.2d 864. HN5[ ] The
State's interest as to a patient's care is the same
whether that patient is treated at a public hospital or a
private institution. Id. at 54-55; Bourgeois, 252 Va. 328,
335, 477 S.E.2d 495. [**13] The third factor is the
amount of control the State has over the employee.
Here, the control by the State over these individuals is
slight. It is true that they are paid by the hospital and
receive no compensation from the patients themselves;
however, that factor alone is not determinative and is in
fact common. James, 221 Va. at 50. If any real control
is exercised over these individuals, particularly the
nurses, it is by the attending physician. The fourth and
final factor is HN6[ ] whether the act complained of
involved the use of judgment and discretion. It is the
judgment and discretion used to perform the particular
act in question, not the judgment and discretion used to
perform the job generally. James; Puckett v. City of
Richmond, 1988 WL 619092 (Va. Cir. 1988). A high
level of discretion weighs in favor of immunity. Lohr, 246
Va. at 88. Further, it is important to recognize that many
acts involve discretion or judgment but that factor alone
cannot be determinative. James, supra. Although not
necessary for this decision, this case involves two
allegations that could possibly be classified as purely
ministerial and therefore not [**14] entitled to immunity:
the fact that the patient was stamped as "DNR" status
instead of a "full code" status as requested and the
failure to arrange for transport of the patient to an
 [*245] emergency facility immediately as ordered by
the attending physician. Those two acts involved no real
judgment or discretion. As for the other more general
allegations and in light of the other three factors of the
test, the nurses and respiratory therapist are not entitled
to sovereign immunity even though they may exercise a
level of discretion in their jobs.

The Court holds that the hospital as an entity is entitled

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